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   8                                  UNITED STATES DISTRICT COURT

   9                                 CENTRAL DISTRICT OF CALIFORNIA
  10    ANGEL ZAMORA, GABRIEL LOAIZA                   Case No. 2:20-cv-02503-ODW(MRWx)
  11    and JORGE GUILLEN, individuals, on
        behalf of themselves and on behalf of all      FIRST AMENDED CLASS ACTION
  12    persons similarly situated,                    COMPLAINT FOR:
                       Plaintiffs,                     1. UNFAIR COMPETITION IN
  13                                                   VIOLATION OF CAL. BUS. & PROF.
  14    vs.                                            CODE §§ 17200, et seq.;
                                                       2. FAILURE TO PAY OVERTIME
  15    PENSKE TRUCK LEASING CO., L.P., a              WAGES IN VIOLATION OF CAL. LAB.
        Limited Partnership,                           CODE §§ 510, et seq.;
  16                                                   3. FAILURE TO PAY MINIMUM
                                                       WAGES IN VIOLATION OF CAL. LAB.
                      Defendant.                       CODE §§ 1194, 1197 & 1197.1;
  17                                                   4. FAILURE TO PROVIDE REQUIRED
  18                                                   MEAL PERIODS IN VIOLATION OF
                                                       CAL. LAB. CODE §§ 226.7 & 512 AND
                                                       THE APPLICABLE IWC WAGE ORDER;
  19                                                   5. FAILURE TO PROVIDE REQUIRED
  20                                                   REST PERIODS IN VIOLATION OF
                                                       CAL. LAB. CODE §§ 226.7 & 512 AND
                                                       THE APPLICABLE IWC WAGE ORDER;
  21                                                   6. FAILURE TO PROVIDE ACCURATE
  22                                                   ITEMIZED STATEMENTS IN
                                                       VIOLATION OF CAL. LAB. CODE § 226;
                                                       7. FAILURE TO REIMBURSE
  23                                                   EMPLOYEES FOR REQUIRED
  24                                                   EXPENSES IN VIOLATION OF CAL.
                                                       LAB. CODE § 2802; and,
                                                       8. FAILURE TO PROVIDE WAGES
  25                                                   WHEN DUE IN VIOLATION OF CAL.
  26                                                   LAB. CODE §§ 201, 202 AND 203.
                                                       DEMAND FOR A JURY TRIAL
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   1          Plaintiffs Angel Zamora, Gabriel Loaiza, and Jorge Guillen (“PLAINTIFFS”), individuals,
   2   on behalf of themselves and all other similarly situated current and former employees, allege
   3   on information and belief, except for their own acts and knowledge which are based on personal
   4   knowledge, the following:
   5
   6                                         THE PARTIES
   7          1.     Defendant Penske Truck Leasing Co., L.P. is a limited partnership that at all
   8   relevant times mentioned herein conducted and continues to conduct substantial business in the
   9   state of California.
  10          2.     DEFENDANT counts full-service commercial truck leasing, truck fleet
  11   maintenance, truck rentals and used truck sales among its services.
  12          3.     Plaintiff Zamora was employed by DEFENDANT from November of 2018 to
  13   January of 2020 and was at all times classified by DEFENDANT as a non-exempt employee,
  14   paid on an hourly basis, and entitled to the legally required rest periods and payment of
  15   minimum and overtime wages due for all time worked.
  16          4.     Plaintiff Loaiza has been employed by DEFENDANT from January of 2017 as
  17   a Technician and was at all times classified by DEFENDANT as a non-exempt employee, paid
  18   on an hourly basis, and entitled to the legally required rest periods and payment of minimum
  19   and overtime wages due for all time worked.
  20          5.     Plaintiff Guillen has been employed by DEFENDANT from March of 2016 as
  21   a Technician and was at all times classified by DEFENDANT as a non-exempt employee, paid
  22   on an hourly basis, and entitled to the legally required rest periods and payment of minimum
  23   and overtime wages due for all time worked.
  24          6.     PLAINTIFFS bring this Class Action on behalf of themselves and a California
  25   class, defined as all individuals who are or previously were employed by DEFENDANT in
  26   California as non-exempt employees (the “CALIFORNIA CLASS”) at any time during the
  27   period beginning on the date four (4) years prior to the filing of this Complaint and ending on
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   1   the date as determined by the Court (the “CALIFORNIA CLASS PERIOD”). The amount in
   2   controversy for the aggregate claim of CALIFORNIA CLASS Members is under five million
   3   dollars ($5,000,000.00).
   4          7.     PLAINTIFFS bring this Class Action on behalf of themselves and a
   5   CALIFORNIA CLASS in order to fully compensate for the California labor Code violations
   6   stemming from DEFENDANT’s failure to indemnify employees for hand tools and equipment
   7   or, in the alternative, pay two times the minimum wage, failure to provide meal and rest periods,
   8   and failure to pay minimum and overtime wages to PLAINTIFFS and the CALIFORNIA
   9   CLASS. DEFENDANT’s policy and practice alleged herein is an unlawful, unfair and
  10   deceptive business practice whereby DEFENDANT retained and continues to retain wages due
  11   PLAINTIFFS and the other members of the CALIFORNIA CLASS. PLAINTIFFS and the
  12   other members of the CALIFORNIA CLASS seek an injunction enjoining such conduct by
  13   DEFENDANT in the future, relief for the named PLAINTIFFS and the other members of the
  14   CALIFORNIA CLASS who have been economically injured by DEFENDANT’s past and
  15   current unlawful conduct, and all other appropriate legal and equitable relief.
  16          8.     The agents, servants and/or employees of the Defendants and each of them acting
  17   on behalf of the Defendants acted within the course and scope of his, her or its authority as the
  18   agent, servant and/or employee of the Defendants, and personally participated in the conduct
  19   alleged herein on behalf of the Defendants with respect to the conduct alleged herein.
  20   Consequently, the acts of each Defendant are legally attributable to the other Defendants and
  21   all Defendants are jointly and severally liable to PLAINTIFFS and the other members of the
  22   CALIFORNIA CLASS, for the loss sustained as a proximate result of the conduct of the
  23   Defendants’ agents, servants and/or employees.
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  25                                         THE CONDUCT
  26          9.     During the CALIFORNIA CLASS PERIOD, during their employment with
  27   DEFENDANT, PLAINTIFF and CALIFORNIA CLASS Members have been required to supply
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                                  FIRST AMENDED CLASS ACTION COMPLAINT
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   1   their own hand tools and equipment to service and repair vehicles for DEFENDANT’s
   2   customers. In fact, DEFENDANT’s own job description states that an Auto Technician
   3   working for DEFENDANT must “[h]ave required tools to perform all maintenance and repair
   4   work as required by the vehicles operating within the district.” Despite requiring PLAINTIFFS
   5   and CALIFORNIA CLASS Members to supply their own tools and equipment to perform the
   6   job, DEFENDANT fails to pay at least two times the minimum wage to PLAINTIFFS and
   7   CALIFORNIA CLASS Members as mandated by the Industrial Welfare Commission Wage
   8   Orders .
   9         10.       During the CALIFORNIA CLASS PERIOD, DEFENDANT failed and continues
  10   to fail to accurately calculate and pay PLAINTIFFS and the other members of the
  11   CALIFORNIA CLASS for all time worked. DEFENDANT unlawfully and unilaterally fails
  12   to accurately calculate minimum and overtime wages for time worked by PLAINTIFFS and
  13   other members of the CALIFORNIA CLASS in order to avoid paying these employees the
  14   correct minimum and overtime compensation. As a result, PLAINTIFFS and the other members
  15   of the CALIFORNIA CLASS forfeited wages due them. DEFENDANT’s policy and practice
  16   to not pay the members of the CALIFORNIA CLASS the correct minimum and overtime wages
  17   for all time worked in accordance with applicable law is evidenced by DEFENDANT’s
  18   business records. This policy and practice of DEFENDANT was intended to purposefully
  19   avoid the payment of the correct compensation as required by California law which allowed
  20   DEFENDANT to illegally profit and gain an unfair advantage over competitors who complied
  21   with the law.
  22         11.       During the CALIFORNIA CLASS PERIOD, DEFENDANT fails to accurately
  23   record and pay PLAINTIFFS and other CALIFORNIA CLASS Members for the actual amount
  24   of time these employees worked. Pursuant to the Industrial Welfare Commission Wage Orders,
  25   DEFENDANT is required to pay PLAINTIFFS and other CALIFORNIA CLASS Members for
  26   all time worked, meaning the time during which an employee was subject to the control of an
  27   employer, including all the time the employee was permitted or suffered to permit this work.
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   1   DEFENDANT requires these employees to work off the clock without paying them for all the
   2   time they were under DEFENDANT’s control. Specifically, DEFENDANT from time to time
   3   requires PLAINTIFFS to work while clocked out during what was supposed to be
   4   PLAINTIFFS’ off-duty meal breaks. PLAINTIFFS are from time to time interrupted by work
   5   assignments. PLAINTIFFS work on DEFENDANT’s Los Angeles County Sheriff’s fleet
   6   maintenance team. As part of their job tasks for DEFENDANT, PLAINTIFFS repair and
   7   maintain police vehicles for Los Angeles County. Throughout their employment and more
   8   specifically for an example, in or around June and July of 2019, PLAINTIFFS would clock out
   9   for their meal periods but continue to work for DEFENDANT as directed by DEFENDANT.
  10   PLAINTIFFS’ supervisor would direct them to work on police cars that came into
  11   DEFENDANT’s shop while PLAINTIFFS were already clocked out for their off duty meal
  12   periods. PLAINTIFFS did not clock back into DEFENDANT’s timekeeping system when
  13   performing this maintenance and repair throughout their employment and more specifically in
  14   June and July of 2019 as directed by DEFENDANT’s supervisors. This repair included but was
  15   not limited to checking engine lights, maintaining the vehicle’s tires, replacing headlights and/or
  16   batteries on the car. Further, another job task performed by PLAINTIFFS was to travel to
  17   various dealerships for DEFENDANT to pick up vehicles that required warranty work.
  18   PLAINTIFFS’ shifts in or around June and July of 2019 would from time to time start at
  19   6:00a.m and PLAINTIFFS did not take a meal period until after 11:00a.m. due to
  20   DEFENDANT’s requirement that they complete certain job tasks as described herein.
  21   PLAINTIFFS would perform work at DEFENDANT’s location at 1104 N. Eastern Avenue in
  22   Los Angeles County and then later in the morning travel to dealerships to pick up vehicles that
  23   required warranty work. Typically, the dealerships were approximately thirty minutes away
  24   from DEFENDANT’s work site described above. There were days in June of 2019 and July
  25   of 2019 and also continuing throughout the rest of their employment, where PLAINTIFFS
  26   would arrive back at DEFENDANT’s location with the cars and PLAINTIFFS had already
  27   worked over five (5) hours for the shift but were not able to take a meal period because they
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   1   were on the road driving for DEFENDANT. Additionally, PLAINTIFFS had no way to swipe
   2   their badge out for a meal period because they were not at the facility but rather were driving
   3   on the road for DEFENDANT. PLAINTIFFS estimate that they spent twenty (20) to thirty (30)
   4   minutes off the clock per workweek with DEFENDANT as a result of the job tasks described
   5   herein. In these circumstances, DEFENDANT would unilaterally modify PLAINTIFFS time
   6   records to make it look as though PLAINTIFFS took a meal period prior to their fifth hour of
   7   work, but in fact PLAINTIFFS were working for DEFENDANT and PLAINTIFFS did not take
   8   a meal prior to their fifth (5th) hour of work for the work shift. On these days, DEFENDANTS
   9   failed to pay PLAINTIFFS a meal break penalty and also failed to pay PLAINTIFFS the proper
  10   minimum and overtime wages as PLAINTIFFS were working off the clock on the road but
  11   DEFENDANT had them clocked out of DEFENDANT’s timekeeping system. Indeed there
  12   were days where PLAINTIFFS did not even receive a partial lunch. As a result, PLAINTIFFS
  13   and other CALIFORNIA CLASS Members forfeit minimum wage and overtime compensation
  14   by working from time to time without their time being accurately recorded and without
  15   compensation at the applicable minimum wage and overtime rates. To the extent that the time
  16   worked off the clock did not qualify for overtime premium payment, DEFENDANT failed to
  17   pay minimum wages for the time worked off-the-clock in violation of Cal. Lab. Code §§ 1194,
  18   1197, and 1197.1.
  19          12.    As a result of their rigorous work schedules and the facts described herein in
  20   paragraph number 11, PLAINTIFFS and other CALIFORNIA CLASS Members are also from
  21   time to time unable to take off duty meal breaks and are not fully relieved of duty for meal
  22   periods. PLAINTIFFS and other CALIFORNIA CLASS Members are from time to time
  23   required to perform work as ordered by DEFENDANT for more than five (5) hours during a
  24   shift without receiving an off-duty meal break. Further, DEFENDANT fails to provide
  25   PLAINTIFFS and CALIFORNIA CLASS Members with a second off-duty meal period from
  26   time to time in which these employees are required by DEFENDANT to work ten (10) hours
  27   of work. PLAINTIFFS and the other CALIFORNIA CLASS Members therefore forfeit meal
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   1   breaks without additional compensation and in accordance with DEFENDANT’s corporate
   2   policy and practice.
   3          13.    During the CALIFORNIA CLASS PERIOD, PLAINTIFFS and other
   4   CALIFORNIA CLASS Members are from time to time also required to work in excess of four
   5   (4) hours without being provided ten (10) minute rest periods. Further, these employees are
   6   denied their first rest periods of at least ten (10) minutes for some shifts worked of at least two
   7   (2) to four (4) hours, a first and second rest period of at least ten (10) minutes for some shifts
   8   worked of between six (6) and eight (8) hours, and a first, second and third rest period of at
   9   least ten (10) minutes for some shifts worked of ten (10) hours or more from time to time.
  10   PLAINTIFFS and other CALIFORNIA CLASS Members are also not provided with one hour
  11   wages in lieu thereof. As a result of their rigorous work schedules, PLAINTIFFS and other
  12   CALIFORNIA CLASS Members are periodically denied their proper rest periods by
  13   DEFENDANT and DEFENDANT’s managers. Additionally, the applicable California Wage
  14   Order requires employers to provide employees with off-duty rest periods, which the California
  15   Supreme Court defined as time during which an employee is relieved from all work related
  16   duties and free from employer control. In so doing, the Court held that the requirement under
  17   California law that employers authorize and permit all employees to take rest period means that
  18   employers must relieve employees of all duties and relinquish control over how employees
  19   spend their time which includes control over the locations where employees may take their rest
  20   period. Employers cannot impose controls that prohibit an employee from taking a brief walk -
  21   five minutes out, five minutes back. Here, DEFENDANT’s policy restricts PLAINTIFFS and
  22   other CALIFORNIA CLASS Members from unconstrained walks and is unlawful based on
  23   DEFENDANT’s rule which requires PLAINTIFFS and other CALIFORNIA CLASS Members
  24   to remain on the work premises during their rest period. A true and correct copy of
  25   DEFENDANT’s rest break policy is attached hereto as Exhibit #1. In or around June and July
  26   of 2019 and continuing throughout the rest of their employment, PLAINTIFFS followed
  27   DEFENDANT’s uniform policy and remained on DEFENDANT’s premises for the duration
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                                  FIRST AMENDED CLASS ACTION COMPLAINT
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   1   of their rest periods. During the time in which PLAINTIFFS should have been on their off duty
   2   paid rest periods, police cars would arrive with maintenance requests and because PLAINTIFFS
   3   were required to remain on the premises by DEFENDANT’s managers and DEFENDANT’s
   4   company policy, PLAINTIFFS would also then be required to perform maintenance work as
   5   needed and directed by PLAINTIFFS’ supervisors. This maintenance work included, but was
   6   not limited to, replacing batteries, changing tires, replacing headlights and tail lights, and or
   7   performing other diagnostic testes on the vehicles. PLAINTIFFS were never paid rest period
   8   violation penalties by DEFENDANTS for these interrupted rest periods in June and July of
   9   2019 and continuing throughout the rest of their employment with DEFENDANT.
  10          14.    DEFENDANT intentionally and knowingly fails to reimburse and indemnify
  11   PLAINTIFFS and the other CALIFORNIA CLASS Members for required business expenses
  12   incurred by PLAINTIFFS and other CALIFORNIA CLASS Members in direct consequence
  13   of discharging their duties on behalf of DEFENDANT. Under California Labor Code Section
  14   2802, employers are required to indemnify employees for all expenses incurred in the course
  15   and scope of their employment. Cal. Lab. Code § 2802 expressly states that "an employer shall
  16   indemnify his or her employee for all necessary expenditures or losses incurred by the
  17   employee in direct consequence of the discharge of his or her duties, or of his or her obedience
  18   to the directions of the employer, even though unlawful, unless the employee, at the time of
  19   obeying the directions, believed them to be unlawful."
  20          15.    In the course of their employment PLAINTIFFS and other CALIFORNIA CLASS
  21   Members as a business expense, are required by DEFENDANT to purchase and supply their
  22   own tools and equipment that are necessary to perform services as auto technicians for
  23   DEFENDANT. DEFENDANT violated Cal. Lab. Code. Section 2802 and IWC Wage Order
  24   Section 9(B) with respect to PLAINTIFFS and CALIFORNIA CLASS Members because
  25   DEFENDANT requires these employees to supply their own tools and equipment to perform
  26   services for DEFENDANT but fails to reimburse for such expenses, or, in the alternative, pay
  27   PLAINTIFF and CALIFORNIA CLASS Members at least two time the minimum wage. As a
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   1   result, in the course of their employment with DEFENDANT, PLAINTIFFS and other members
   2   of the CALIFORNIA CLASS incurred unreimbursed business expenses which include, but are
   3   not limited to, costs related to the purchase of their own tools and equipment all on behalf of
   4   and for the benefit of DEFENDANT.
   5          16.    From time to time, DEFENDANT also fails to provide PLAINTIFFS and the
   6   other members of the CALIFORNIA CLASS with complete and accurate wage statements
   7   which failed to show, among other things, the correct gross and net wages earned and correct
   8   amount of time worked. Cal. Lab. Code § 226 provides that every employer shall furnish each
   9   of his or her employees with an accurate itemized wage statement in writing showing, among
  10   other things, gross wages earned and all applicable hourly rates in effect during the pay period
  11   and the corresponding amount of time worked at each hourly rate. Specifically, DEFENDANT
  12   violated Section 226 by failing to identify the correct rates of pay and number of hours worked,
  13   including for the “Retro Pay,” item of pay, which is a wage payment. DEFENDANT issued
  14   Plaintiff Loaiza a wage statement in February 22, 2019 that listed a line item “Retro Pay” in the
  15   amount of $471.37. DEFENDANT failed to list any hours worked or rate at which this money
  16   was earned associated with this wage payment in violation of Cal. Lab. Code 226(a)(9). A true
  17   and correct copy of Plaintiff Loaiza’s wage statement issued on February 22, 2019 is attached
  18   hereto as Exhibit #2. DEFENDANT issued Plaintiff Guillen a wage statement on September
  19   27, 2019 that listed a line item entitled “Retro Pay” in the amount of $3,170.90. DEFENDANT
  20   failed to list any hours worked or rate at which this money was earned associated with this
  21   wage payment in violation of Cal. Lab. Code 226(a)(9). A true and correct copy of Plaintiff
  22   Guillen’s wage statement issued on September 27, 2019 is attached hereto as Exhibit #3.
  23   Additionally, for the reasons set forth in paragraphs Numbers 11, 12, and 13 of this Complaint
  24   regarding PLAINTIFFS being required to work of the clock and not be paid the correct
  25   minimum and overtime wages, DEFENDANT issued pay statements to PLAINTIFFS that failed
  26   to list the correct gross wages earned in violation of Cal. Lab. Code Section 226(a)(1). Aside,
  27   from the violations listed above in this paragraph, DEFENDANT fails to issue to PLAINTIFFS
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    1   an itemized wage statement that lists all the requirements under California Labor Code 226 et
    2   seq. As a result, DEFENDANT from time to time provides PLAINTIFFS and the other
    3   members of the CALIFORNIA CLASS with wage statements which violated Cal. Lab. Code
    4   § 226.
    5            17.   By reason of this conduct applicable to PLAINTIFFS and all CALIFORNIA
    6   CLASS Members, DEFENDANT committed acts of unfair competition in violation of the
    7   California Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq. (the “UCL”), by
    8   engaging in a company-wide policy and procedure alleged herein.             As a result of
    9   DEFENDANT’s intentional disregard of the obligation to meet thier burden, DEFENDANT
   10   failed to properly calculate and/or pay all required minimum wage and overtime compensation
   11   for work performed by the members of the CALIFORNIA CLASS and violated the California
   12   Labor Code and regulations promulgated thereunder as herein alleged.
   13            18.   To date, DEFENDANT has yet to pay Plaintiff Zamora all of his minimum and
   14   overtime wages due to him and DEFENDANT has failed to pay any penalties owed to him
   15   under California Labor Code Section 203.      The amount in controversy for PLAINTIFFS
   16   individually do not exceed the sum or value of $75,000.
   17
   18                                 JURISDICTION AND VENUE
   19            19.   This action is brought as a Class Action on behalf of PLAINTIFF and similarly
   20   situated employees of DEFENDANT pursuant to Fed. R. Civ. Proc. 23(b)(2) and/or (3).
   21            20.   Venue is proper in this Court and judicial district pursuant to 28 U.S.C. §
   22   1391 because (i) DEFENDANT conducts and conducted substantial business within this
   23   judicial district and maintains offices in this judicial district, (ii) the causes of action
   24   alleged herein arise in whole or in part in this judicial district, and (iii) DEFENDANT
   25   committed wrongful conduct against members of this class in this district.
   26   ///
   27   ///
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    1                                   THE CALIFORNIA CLASS
    2          21.     PLAINTIFFS bring the First Cause of Action for Unfair, Unlawful and Deceptive
    3   Business Practices pursuant to Cal. Bus. & Prof. Code §§ 17200, et seq. (the "UCL") as a Class
    4   Action, Fed. R. Civ. Proc. 23(b)(2) and/or (3), on behalf of a California class, defined as all
    5   individuals who are or previously were employed by DEFENDANT in California as non-
    6   exempt employees (the “CALIFORNIA CLASS”) at any time during the period beginning on
    7   the date four (4) years prior to the filing of this Complaint and ending on the date as determined
    8   by the Court (the “CALIFORNIA CLASS PERIOD”). The amount in controversy for the
    9   aggregate claim of CALIFORNIA CLASS Members is under five million dollars
   10   ($5,000,000.00).
   11          22.     To the extent equitable tolling operates to toll claims by the CALIFORNIA
   12   CLASS against DEFENDANT, the CALIFORNIA CLASS PERIOD should be adjusted
   13   accordingly.
   14          23.     The California Legislature has commanded that “all wages... ...earned by any
   15   person in any employment are due and payable twice during each calendar month, on days
   16   designated in advance by the employer as the regular paydays”, and further that “[a]ny work
   17   in excess of eight hours in one workday and any work in excess of 40 hours in any one
   18   workweek . . . shall be compensated at the rate of no less than one and one-half times the
   19   regular rate of pay for an employee.” (Lab. Code § 204 and § 510(a).) The Industrial Welfare
   20   Commission (IWC), however, is statutorily authorized to “establish exemptions from the
   21   requirement that an overtime rate of compensation be paid... ...for executive, administrative,
   22   and professional employees, provided [inter alia] that the employee is primarily engaged in
   23   duties that meet the test of the exemption, [and] customarily and regularly exercises discretion
   24   and independent judgment in performing those duties...” (Lab. Code § 510(a).) Neither the
   25   PLAINTIFFS nor the other members of the CALIFORNIA CLASS and/or the CALIFORNIA
   26   LABOR SUB-CLASS qualify for exemption from the above requirements.
   27          24.     DEFENDANT, in violation of the applicable Labor Code, Industrial Welfare
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    1   Commission (“IWC”) Wage Order requirements, and the applicable provisions of California
    2   law, intentionally, knowingly, and wilfully, engaged in a practice whereby DEFENDANT
    3   failed to correctly calculate and record minimum wage and overtime compensation for overtime
    4   worked by PLAINTIFFS and the other members of the CALIFORNIA CLASS, even though
    5   DEFENDANT enjoyed the benefit of this work, required employees to perform this work and
    6   permitted or suffered to permit this overtime work.
    7         25.    DEFENDANT has the legal burden to establish that each and every
    8   CALIFORNIA CLASS Member is paid the applicable rate for all overtime worked.
    9   DEFENDANT, however, as a matter of policy and procedure failed to have in place during the
   10   CALIFORNIA CLASS PERIOD and still fails to have in place a policy or practice to ensure
   11   that each and every CALIFORNIA CLASS Member is paid the applicable overtime rate for all
   12   overtime worked, so as to satisfy their burden. This common business practice applicable to
   13   each and every CALIFORNIA CLASS Member can be adjudicated on a class-wide basis as
   14   unlawful, unfair, and/or deceptive under Cal. Business & Professions Code §§ 17200, et seq.
   15   (the “UCL”) as causation, damages, and reliance are not elements of this claim.
   16         26.    The CALIFORNIA CLASS, is so numerous that joinder of all CALIFORNIA
   17   CLASS Members is impracticable.
   18         27.    DEFENDANT violated the rights of the CALIFORNIA CLASS under California
   19   law by:
   20                (a)    Violating the California Unfair Competition Laws, Cal. Bus. & Prof. Code
   21                       §§ 17200, et seq., by unlawfully, unfairly and/or deceptively having in
   22                       place company policies, practices and procedures that failed to pay all
   23                       minimum and overtime wages due the CALIFORNIA CLASS for all time
   24                       worked, and failed to accurately record the applicable rates of all overtime
   25                       worked by the CALIFORNIA CLASS;
   26                (b)    Committing an act of unfair competition in violation of the California
   27                       Unfair Competition Laws, Cal. Bus. & Prof. Code §§ 17200, et seq., by
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    1                        unlawfully, unfairly, and/or deceptively having in place a company policy,
    2                        practice and procedure that failed to correctly calculate overtime
    3                        compensation due to PLAINTIFFS and the members of the CALIFORNIA
    4                        CLASS;
    5                 (c)    Committing an act of unfair competition in violation of the California
    6                        Unfair Competition Laws, Cal. Bus. & Prof. Code §§ 17200 et seq., by
    7                        violating Cal. Lab. Code § 2802 by failing to reimburse PLAINTIFFS and
    8                        the CALIFORNIA CLASS members with necessary expenses incurred in
    9                        the discharge of their job duties; and,
   10                 (e)    Committing an act of unfair competition in violation of the California
   11                        Unfair Competition Laws, Cal. Bus. & Prof. Code §§ 17200, et seq., by
   12                        failing to provide mandatory meal and/or rest breaks to PLAINTIFFS and
   13                        the CALIFORNIA CLASS members.
   14          28.    This Class Action meets the statutory prerequisites for the maintenance of a Class
   15   Action as set forth in Fed. R. Civ. Proc. 23(b)(2) and/or (3), in that:
   16                 (a)    The persons who comprise the CALIFORNIA CLASS are so numerous
   17                        that the joinder of all such persons is impracticable and the disposition of
   18                        their claims as a class will benefit the parties and the Court;
   19                 (b)    Nearly all factual, legal, statutory, declaratory and injunctive relief issues
   20                        that are raised in this Complaint are common to the CALIFORNIA
   21                        CLASS will apply to every member of the CALIFORNIA CLASS;
   22                 (c)    The claims of the representative PLAINTIFFS are typical of the claims of
   23                        each member of the CALIFORNIA CLASS. PLAINTIFFS, like all the
   24                        other members of the CALIFORNIA CLASS, were subjected to the
   25                        employment practices of DEFENDANT and were non-exempt employees
   26                        paid on an hourly basis who were subjected to the DEFENDANT’s
   27                        practice and policy which fails to pay the correct rate of wages due to the
   28
                                                       13
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    1                        CALIFORNIA CLASS for all time worked by the CALIFORNIA CLASS
    2                        and thereby underpays compensation to the CALIFORNIA CLASS.
    3                        PLAINTIFFS sustained economic injury as a result of DEFENDANT’s
    4                        employment practices.          PLAINTIFFS and the members of the
    5                        CALIFORNIA CLASS were and are similarly or identically harmed by
    6                        the same unlawful, deceptive, unfair misconduct engaged in by
    7                        DEFENDANT; and,
    8                 (d)    The representative PLAINTIFFS will fairly and adequately represent and
    9                        protect the interest of the CALIFORNIA CLASS, and have retained
   10                        counsel who are competent and experienced in Class Action litigation.
   11                        There are no material conflicts between the claims of the representative
   12                        PLAINTIFFS and the members of the CALIFORNIA CLASS that would
   13                        make class certification inappropriate. Counsel for the CALIFORNIA
   14                        CLASS will vigorously assert the claims of all CALIFORNIA CLASS
   15                        Members.
   16          29.    In addition to meeting the statutory prerequisites to a Class Action, this action
   17   is properly maintained as a Class Action pursuant Fed. R. Civ. Proc. 23(b)(2) and/or (3), in that:
   18                 (a)    Without class certification and determination of declaratory, injunctive,
   19                        statutory and other legal questions within the class format, prosecution of
   20                        separate actions by individual members of the CALIFORNIA CLASS will
   21                        create the risk of:
   22                        1)      Inconsistent or varying adjudications with respect to individual
   23                                members of the CALIFORNIA CLASS which would establish
   24                                incompatible standards of conduct for the parties opposing the
   25                                CALIFORNIA CLASS; and/or,
   26                        2)      Adjudication with respect to individual members of the
   27                                CALIFORNIA CLASS which would as a practical matter be
   28                                                  14
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    1                          dispositive of interests of the other members not party to the
    2                          adjudication or substantially impair or impede their ability to
    3                          protect their interests.
    4             (b)   The parties opposing the CALIFORNIA CLASS have acted or refused to
    5                   act on grounds generally applicable to the CALIFORNIA CLASS, making
    6                   appropriate class-wide relief with respect to the CALIFORNIA CLASS
    7                   as a whole in that DEFENDANT failed to pay all wages due. Including
    8                   the correct overtime rate, for all worked by the members of the
    9                   CALIFORNIA CLASS as required by law;
   10                   1)     With respect to the First Cause of Action, the final relief on behalf
   11                          of the CALIFORNIA CLASS sought does not relate exclusively to
   12                          restitution because through this claim PLAINTIFFS seek
   13                          declaratory relief holding that the DEFENDANT’s policy and
   14                          practices constitute unfair competition, along with declaratory
   15                          relief, injunctive relief, and incidental equitable relief as may be
   16                          necessary to prevent and remedy the conduct declared to constitute
   17                          unfair competition;
   18             (c)   Common questions of law and fact exist as to the members of the
   19                   CALIFORNIA CLASS, with respect to the practices and violations of
   20                   California law as listed above, and predominate over any question
   21                   affecting only individual CALIFORNIA CLASS Members, and a Class
   22                   Action is superior to other available methods for the fair and efficient
   23                   adjudication of the controversy, including consideration of:
   24                   1)     The interests of the members of the CALIFORNIA CLASS in
   25                          individually controlling the prosecution or defense of separate
   26                          actions in that the substantial expense of individual actions will be
   27                          avoided to recover the relatively small amount of economic losses
   28                                             15
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    1                               sustained by the individual CALIFORNIA CLASS Members when
    2                               compared to the substantial expense and burden of individual
    3                               prosecution of this litigation;
    4                        2)     Class certification will obviate the need for unduly duplicative
    5                               litigation that would create the risk of:
    6                               A.     Inconsistent or varying adjudications with respect to
    7                                      individual members of the CALIFORNIA CLASS, which
    8                                      would establish incompatible standards of conduct for the
    9                                      DEFENDANT; and/or,
   10                               B.     Adjudications with respect to individual members of the
   11                                      CALIFORNIA CLASS would as a practical matter be
   12                                      dispositive of the interests of the other members not parties
   13                                      to the adjudication or substantially impair or impede their
   14                                      ability to protect their interests;
   15                        3)     In the context of wage litigation because a substantial number of
   16                               individual CALIFORNIA CLASS Members will avoid asserting
   17                               their legal rights out of fear of retaliation by DEFENDANT, which
   18                               may adversely affect an individual’s job with DEFENDANT or
   19                               with a subsequent employer, the Class Action is the only means to
   20                               assert their claims through a representative; and,
   21                        4)     A class action is superior to other available methods for the fair
   22                               and efficient adjudication of this litigation because class treatment
   23                               will obviate the need for unduly and unnecessary duplicative
   24                               litigation that is likely to result in the absence of certification of
   25                               this action pursuant to Fed. R. Civ. Proc. 23(b)(2) and/or (3)
   26          30.    This Court should permit this action to be maintained as a Class Action pursuant
   27   to Fed. R. Civ. Proc. 23(b)(2) and/or (3) because:
   28                                                 16
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    1             (a)   The questions of law and fact common to the CALIFORNIA CLASS
    2                   predominate over any question affecting only individual CALIFORNIA
    3                   CLASS Members because the DEFENDANT’s employment practices are
    4                   applied with respect to the CALIFORNIA CLASS;
    5             (b)   A Class Action is superior to any other available method for the fair and
    6                   efficient adjudication of the claims of the members of the CALIFORNIA
    7                   CLASS because in the context of employment litigation a substantial
    8                   number of individual CALIFORNIA CLASS Members will avoid
    9                   asserting their rights individually out of fear of retaliation or adverse
   10                   impact on their employment;
   11             (c)   The members of the CALIFORNIA CLASS are so numerous that it is
   12                   impractical to bring all members of the CALIFORNIA CLASS before the
   13                   Court;
   14             (d)   PLAINTIFFS, and the other CALIFORNIA CLASS Members, will not be
   15                   able to obtain effective and economic legal redress unless the action is
   16                   maintained as a Class Action;
   17             (e)   There is a community of interest in obtaining appropriate legal and
   18                   equitable relief for the acts of unfair competition, statutory violations and
   19                   other improprieties, and in obtaining adequate compensation for the
   20                   damages and injuries which DEFENDANT’s actions have inflicted upon
   21                   the CALIFORNIA CLASS;
   22             (f)   There is a community of interest in ensuring that the combined assets of
   23                   DEFENDANT are sufficient to adequately compensate the members of
   24                   the CALIFORNIA CLASS for the injuries sustained;
   25             (g)   DEFENDANT has acted or refused to act on grounds generally applicable
   26                   to the CALIFORNIA CLASS, thereby making final class-wide relief
   27                   appropriate with respect to the CALIFORNIA CLASS as a whole;
   28                                             17
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    1                 (h)    The members of the CALIFORNIA CLASS are readily ascertainable from
    2                        the business records of DEFENDANT; and,
    3                 (i)    Class treatment provides manageable judicial treatment calculated to bring
    4                        a efficient and rapid conclusion to all litigation of all wage and hour
    5                        related claims arising out of the conduct of DEFENDANT as to the
    6                        members of the CALIFORNIA CLASS.
    7          31.    DEFENDANT maintains records from which the Court can ascertain and identify
    8   by job title each of DEFENDANT’s employees who have been intentionally subjected to
    9   DEFENDANT’s conduct as herein alleged. PLAINTIFFS will seek leave to amend the
   10   Complaint to include any additional job titles of similarly situated employees when they have
   11   been identified.
   12
   13                           THE CALIFORNIA LABOR SUB-CLASS
   14          32.    PLAINTIFFS further bring the Second, Third, Fourth, Fifth, Sixth, Seventh and
   15   Eighth causes of Action on behalf of a California sub-class, defined as all members of the
   16   CALIFORNIA CLASS (the “CALIFORNIA LABOR SUB-CLASS”) at any time during the
   17   period beginning on the date three (3) years prior to the filing of the complaint and ending on
   18   the date as determined by the Court (the “CALIFORNIA LABOR SUB-CLASS PERIOD”)
   19   pursuant to Fed. R. Civ. Proc. 23(b)(2) and/or (3). The amount in controversy for the aggregate
   20   claim of CALIFORNIA LABOR SUB-CLASS Members is under five million dollars
   21   ($5,000,000.00).
   22          33.    DEFENDANT, in violation of the applicable Labor Code, Industrial Welfare
   23   Commission (“IWC”) Wage Order requirements, and the applicable provisions of California
   24   law, intentionally, knowingly, and wilfully, engaged in a practice whereby DEFENDANT
   25   failed to correctly calculate overtime compensation for the overtime worked by PLAINTIFFS
   26   and the other members of the CALIFORNIA LABOR SUB-CLASS, even though
   27   DEFENDANT enjoyed the benefit of this work, required employees to perform this work and
   28                                                 18
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    1   permitted or suffered to permit this overtime work.        DEFENDANT has denied these
    2   CALIFORNIA LABOR SUB-CLASS Members overtime wages at the correct amount to which
    3   these employees are entitled in order to unfairly cheat the competition and unlawfully profit.
    4   To the extent equitable tolling operates to toll claims by the CALIFORNIA LABOR SUB-
    5   CLASS against DEFENDANT, the CALIFORNIA LABOR SUB-CLASS PERIOD should be
    6   adjusted accordingly.
    7          34.    DEFENDANT maintains records from which the Court can ascertain and identify
    8   by name and job title, each of DEFENDANT’s employees who have been intentionally
    9   subjected to DEFENDANT’s conduct as herein alleged. PLAINTIFFS will seek leave to amend
   10   the complaint to include any additional job titles of similarly situated employees when they
   11   have been identified.
   12          35.    The CALIFORNIA LABOR SUB-CLASS is so numerous that joinder of all
   13   CALIFORNIA LABOR SUB-CLASS Members is impracticable.
   14          36.    Common questions of law and fact exist as to members of the CALIFORNIA
   15   LABOR SUB-CLASS, including, but not limited, to the following:
   16                 (a)    Whether DEFENDANT unlawfully failed to correctly calculate and pay
   17                        minimum wage and overtime compensation to members of the
   18                        CALIFORNIA LABOR SUB-CLASS in violation of the California Labor
   19                        Code and California regulations and the applicable California Wage
   20                        Order;
   21                 (b)    Whether the members of the CALIFORNIA LABOR SUB-CLASS are
   22                        entitled to overtime compensation for overtime worked under the overtime
   23                        pay requirements of California law;
   24                 (c)    Whether DEFENDANT failed to accurately record the applicable
   25                        overtime rates for all overtime worked PLAINTIFFS and the other
   26                        members of the CALIFORNIA LABOR SUB-CLASS;
   27                 (d)    Whether DEFENDANT failed to provide PLAINTIFFS and the other
   28                                                19
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    1                       members of the CALIFORNIA LABOR SUB-CLASS with legally
    2                       required uninterrupted thirty (30) minute meal breaks and rest periods;
    3                (e)    Whether DEFENDANT failed to provide PLAINTIFFS and the other
    4                       members of the CALIFORNIA LABOR SUB-CLASS with accurate
    5                       itemized wage statements;
    6                (f)    Whether DEFENDANT has engaged in unfair competition by the
    7                       above-listed conduct;
    8                (g)    The proper measure of damages and penalties owed to the members of the
    9                       CALIFORNIA LABOR SUB-CLASS; and,
   10                (h)    Whether DEFENDANT’s conduct was willful.
   11         37.    DEFENDANT failed to accurately calculate minimum wage and overtime
   12   compensation for the CALIFORNIA LABOR SUB-CLASS Members.                        All of the
   13   CALIFORNIA LABOR SUB-CLASS Members, including PLAINTIFFS, were auto technicians
   14   who were paid on an hourly basis by DEFENDANT according to company procedures as
   15   alleged herein above. This business practice was applied to each and every member of the
   16   CALIFORNIA LABOR SUB-CLASS, and therefore, the propriety of this conduct can be
   17   adjudicated on a class-wide basis.
   18         38.    DEFENDANT violated the rights of the CALIFORNIA LABOR SUB-CLASS
   19   under California law by:
   20                (a)    Violating Cal. Lab. Code §§ 510, et seq., by failing to accurately pay
   21                       PLAINTIFFS and the members of the CALIFORNIA LABOR SUB-
   22                       CLASS the correct overtime pay for which DEFENDANT is liable
   23                       pursuant to Cal. Lab. Code § 1194 & § 1198;
   24                (b)    Violating Cal. Lab. Code §§ 1194, 1197 & 1197.1 et seq., by failing to
   25                       accurately pay PLAINTIFFS and the members of the CALIFORNIA
   26                       LABOR SUB-CLASS the correct minimum wage pay for which
   27                       DEFENDANT is liable pursuant to Cal. Lab. Code §§ 1194 and 1197;
   28                                               20
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    1                 (c)    Violating Cal. Lab. Code §§ 226.7 and 512, by failing to provide
    2                        PLAINTIFFS and the other members of the CALIFORNIA CLASS with
    3                        all legally required off-duty, uninterrupted thirty (30) minute meal breaks
    4                        and the legally required rest breaks;
    5                 (d)    Violating Cal. Lab. Code § 2802 by failing to reimburse PLAINTIFFS and
    6                        the CALIFORNIA CLASS members with necessary expenses incurred in
    7                        the discharge of their job duties;
    8                 (e)    Violating Cal. Lab. Code § 226, by failing to provide PLAINTIFFS and
    9                        the members of the CALIFORNIA LABOR SUB-CLASS with an accurate
   10                        itemized statement in writing showing all accurate and applicable
   11                        overtime rates in effect during the pay period and the corresponding
   12                        amount of time worked at each overtime rate by the employee and,
   13                 (f)    Violating Cal. Lab. Code §§ 201, 202 and/or 203, which provides that
   14                        when an employee is discharged or quits from employment, the employer
   15                        must pay the employee all wages due without abatement, by failing to
   16                        tender full payment and/or restitution of wages owed or in the manner
   17                        required by California law to the members of the CALIFORNIA LABOR
   18                        SUB-CLASS who have terminated their employment.
   19          39.    This Class Action meets the statutory prerequisites for the maintenance of a Class
   20   Action as set forth in Fed. R. Civ. Proc. 23(b)(2) and/or (3), in that:
   21                 (a)    The persons who comprise the CALIFORNIA LABOR SUB-CLASS are
   22                        so numerous that the joinder of all CALIFORNIA LABOR SUB-CLASS
   23                        Members is impracticable and the disposition of their claims as a class
   24                        will benefit the parties and the Court;
   25                 (b)    Nearly all factual, legal, statutory, declaratory and injunctive relief issues
   26                        that are raised in this Complaint are common to the CALIFORNIA
   27                        LABOR SUB-CLASS and will apply to every member of the
   28                                                  21
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    1                        CALIFORNIA LABOR SUB-CLASS;
    2                 (c)    The claims of the representative PLAINTIFFS are typical of the claims of
    3                        each member of the CALIFORNIA LABOR SUB-CLASS. PLAINTIFFS,
    4                        like all the other members of the CALIFORNIA LABOR SUB-CLASS,
    5                        were non-exempt employees paid on an hourly basis and subjected to the
    6                        DEFENDANT’s practice and policy which failed to pay the correct wages
    7                        due to the CALIFORNIA LABOR SUB-CLASS for all time worked.
    8                        PLAINTIFFS sustained economic injury as a result of DEFENDANT’s
    9                        employment practices.          PLAINTIFFS and the members of the
   10                        CALIFORNIA LABOR SUB-CLASS were and are similarly or identically
   11                        harmed by the same unlawful, deceptive, unfair misconduct engaged in by
   12                        DEFENDANT; and,
   13                 (d)    The representative PLAINTIFFS will fairly and adequately represent and
   14                        protect the interest of the CALIFORNIA LABOR SUB-CLASS, and have
   15                        retained counsel who are competent and experienced in Class Action
   16                        litigation. There are no material conflicts between the claims of the
   17                        representative PLAINTIFFS and the members of the CALIFORNIA
   18                        LABOR SUB-CLASS that would make class certification inappropriate.
   19                        Counsel for the CALIFORNIA LABOR SUB-CLASS will vigorously
   20                        assert the claims of all CALIFORNIA LABOR SUB-CLASS Members.
   21           40.   In addition to meeting the statutory prerequisites to a Class Action, this action is
   22   properly maintained as a Class Action pursuant to Fed. R. Civ. Proc. 23(b)(2) and/or (3), in
   23   that:
   24                 (a)    Without class certification and determination of declaratory, injunctive,
   25                        statutory and other legal questions within the class format, prosecution of
   26                        separate actions by individual members of the CALIFORNIA LABOR
   27                        SUB-CLASS will create the risk of:
   28                                                  22
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    1                   1)    Inconsistent or varying adjudications with respect to individual
    2                         members of the CALIFORNIA LABOR SUB-CLASS which would
    3                         establish incompatible standards of conduct for the parties
    4                         opposing the CALIFORNIA LABOR SUB-CLASS; or,
    5                   2)    Adjudication with respect to individual members of the
    6                         CALIFORNIA LABOR SUB-CLASS which would as a practical
    7                         matter be dispositive of interests of the other members not party to
    8                         the adjudication or substantially impair or impede their ability to
    9                         protect their interests.
   10             (b)   The parties opposing the CALIFORNIA LABOR SUB-CLASS have acted
   11                   or refused to act on grounds generally applicable to the CALIFORNIA
   12                   LABOR SUB-CLASS, making appropriate class-wide relief with respect
   13                   to the CALIFORNIA LABOR SUB-CLASS as a whole in that
   14                   DEFENDANT failed to pay all wages due. Including the correct overtime
   15                   rate, for all overtime worked by the members of the CALIFORNIA
   16                   LABOR SUB-CLASS as required by law;
   17             (c)   Common questions of law and fact predominate as to the members of the
   18                   CALIFORNIA LABOR SUB-CLASS, with respect to the practices and
   19                   violations of California Law as listed above, and predominate over any
   20                   question affecting only individual CALIFORNIA LABOR SUB-CLASS
   21                   Members, and a Class Action is superior to other available methods for
   22                   the fair and efficient adjudication of the controversy, including
   23                   consideration of:
   24                   1)    The interests of the members of the CALIFORNIA LABOR SUB-
   25                         CLASS in individually controlling the prosecution or defense of
   26                         separate actions in that the substantial expense of individual
   27                         actions will be avoided to recover the relatively small amount of
   28                                            23
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    1                            economic losses sustained by the individual CALIFORNIA
    2                            LABOR SUB-CLASS Members when compared to the substantial
    3                            expense and burden of individual prosecution of this litigation;
    4                     2)     Class certification will obviate the need for unduly duplicative
    5                            litigation that would create the risk of:
    6                            A.     Inconsistent or varying adjudications with respect to
    7                                   individual members of the CALIFORNIA LABOR SUB-
    8                                   CLASS, which would establish incompatible standards of
    9                                   conduct for the DEFENDANT; and/or,
   10                            B.     Adjudications with respect to individual members of the
   11                                   CALIFORNIA LABOR SUB-CLASS would as a practical
   12                                   matter be dispositive of the interests of the other members
   13                                   not parties to the adjudication or substantially impair or
   14                                   impede their ability to protect their interests;
   15                     3)     In the context of wage litigation because a substantial number of
   16                            individual CALIFORNIA LABOR SUB-CLASS Members will
   17                            avoid asserting their legal rights out of fear of retaliation by
   18                            DEFENDANT, which may adversely affect an individual’s job
   19                            with DEFENDANT or with a subsequent employer, the Class
   20                            Action is the only means to assert their claims through a
   21                            representative; and,
   22                     4)     A class action is superior to other available methods for the fair
   23                            and efficient adjudication of this litigation because class treatment
   24                            will obviate the need for unduly and unnecessary duplicative
   25                            litigation that is likely to result in the absence of certification of
   26                            this action pursuant to Fed. R. Civ. Proc. 23(b)(2) and/or (3).
   27        41.   This Court should permit this action to be maintained as a Class Action pursuant
   28                                              24
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    1   to Fed. R. Civ. Proc. 23(b)(2) and/or (3) because:
    2                 (a)    The questions of law and fact common to the CALIFORNIA LABOR
    3                        SUB-CLASS predominate over any question affecting only individual
    4                        CALIFORNIA LABOR SUB-CLASS Members;
    5                 (b)    A Class Action is superior to any other available method for the fair and
    6                        efficient adjudication of the claims of the members of the CALIFORNIA
    7                        LABOR SUB-CLASS because in the context of employment litigation a
    8                        substantial number of individual CALIFORNIA LABOR SUB-CLASS
    9                        Members will avoid asserting their rights individually out of fear of
   10                        retaliation or adverse impact on their employment;
   11                 (c)    The members of the CALIFORNIA LABOR SUB-CLASS are so
   12                        numerous that it is impractical to bring all members of the CALIFORNIA
   13                        LABOR SUB-CLASS before the Court;
   14                 (d)    PLAINTIFFS, and the other CALIFORNIA LABOR SUB-CLASS
   15                        Members, will not be able to obtain effective and economic legal redress
   16                        unless the action is maintained as a Class Action;
   17                 (e)    There is a community of interest in obtaining appropriate legal and
   18                        equitable relief for the acts of unfair competition, statutory violations and
   19                        other improprieties, and in obtaining adequate compensation for the
   20                        damages and injuries which DEFENDANT’s actions have inflicted upon
   21                        the CALIFORNIA LABOR SUB-CLASS;
   22                 (f)    There is a community of interest in ensuring that the combined assets of
   23                        DEFENDANT are sufficient to adequately compensate the members of
   24                        the CALIFORNIA LABOR SUB-CLASS for the injuries sustained;
   25                 (g)    DEFENDANT has acted or refused to act on grounds generally applicable
   26                        to the CALIFORNIA LABOR SUB-CLASS, thereby making final class-
   27                        wide relief appropriate with respect to the CALIFORNIA LABOR SUB-
   28                                                  25
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    1                        CLASS as a whole;
    2                 (h)    The members of the CALIFORNIA LABOR SUB-CLASS are readily
    3                        ascertainable from the business records of DEFENDANT.                 The
    4                        CALIFORNIA LABOR SUB-CLASS consists of all CALIFORNIA
    5                        CLASS Members classified as non-exempt employees during the
    6                        CALIFORNIA LABOR SUB-CLASS PERIOD; and,
    7                 (i)    Class treatment provides manageable judicial treatment calculated to bring
    8                        a efficient and rapid conclusion to all litigation of all wage and hour
    9                        related claims arising out of the conduct of DEFENDANT as to the
   10                        members of the CALIFORNIA LABOR SUB-CLASS.
   11
   12                                  FIRST CAUSE OF ACTION
   13                                For Unlawful Business Practices
   14                          [Cal. Bus. And Prof. Code §§ 17200, et seq.]
   15       (By PLAINTIFFS and the CALIFORNIA CLASS and Against All Defendants)
   16          42.    PLAINTIFFS, and the other members of the CALIFORNIA CLASS, reallege and
   17   incorporate by this reference, as though fully set forth herein, the prior paragraphs of this
   18   Complaint.
   19          43.    DEFENDANT is a “person” as that term is defined under Cal. Bus. and Prof.
   20   Code § 17021.
   21          44.    California Business & Professions Code §§ 17200, et seq. (the “UCL”) defines
   22   unfair competition as any unlawful, unfair, or fraudulent business act or practice. Section
   23   17203 authorizes injunctive, declaratory, and/or other equitable relief with respect to unfair
   24   competition as follows:
   25          Any person who engages, has engaged, or proposes to engage in unfair
               competition may be enjoined in any court of competent jurisdiction. The court
   26          may make such orders or judgments, including the appointment of a receiver, as
               may be necessary to prevent the use or employment by any person of any
   27          practice which constitutes unfair competition, as defined in this chapter, or as
               may be necessary to restore to any person in interest any money or property, real
   28                                                 26
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    1          or personal, which may have been acquired by means of such unfair competition.
    2   Cal. Bus. & Prof. Code § 17203.
    3          45.    By the conduct alleged herein, DEFENDANT has engaged and continues to
    4   engage in a business practice which violates California law, including but not limited to, the
    5   applicable Wage Order(s), the California Code of Regulations and the California Labor Code
    6   including Sections 204, 206.5, 210, 226.7, 510, 512, 1194, 1197, 1197.1, 1198, 2802, for which
    7   this Court should issue declaratory and other equitable relief pursuant to Cal. Bus. & Prof. Code
    8   § 17203 as may be necessary to prevent and remedy the conduct held to constitute unfair
    9   competition, including restitution of wages wrongfully withheld.
   10          46.    By the conduct alleged herein, DEFENDANT’s practices were unlawful and
   11   unfair in that these practices violated public policy, were immoral, unethical, oppressive,
   12   unscrupulous or substantially injurious to employees, and were without valid justification or
   13   utility for which this Court should issue equitable and injunctive relief pursuant to Section
   14   17203 of the California Business & Professions Code, including restitution of wages wrongfully
   15   withheld.
   16          47.    By the conduct alleged herein, DEFENDANT’s practices are deceptive and
   17   fraudulent in that DEFENDANT’s policy and practice fails to pay PLAINTIFFS, and other
   18   members of the CALIFORNIA CLASS, minimum and overtime wages due for overtime
   19   worked, fails to accurately to record the applicable rate of all time worked, and fails to supply
   20   these employees with hand tools and equipment to service and repair vehicles for
   21   DEFENDANT’s customers, or in the alternative pay at least two times the minimum wage, due
   22   to a miscalculation of the overtime rate that cannot be justified, pursuant to the applicable Cal.
   23   Lab. Code, and Industrial Welfare Commission requirements in violation of Cal. Bus. Code §§
   24   17200, et seq., and for which this Court should issue injunctive and equitable relief, pursuant
   25   to Cal. Bus. & Prof. Code § 17203, including restitution of wages wrongfully withheld.
   26          48.    By the conduct alleged herein, DEFENDANT’s practices are also unlawful,
   27   unfair and deceptive in that DEFENDANT’s employment practices caused PLAINTIFFS and
   28                                                  27
                                   FIRST AMENDED CLASS ACTION COMPLAINT
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    1   the other members of the CALIFORNIA CLASS to be underpaid during their employment with
    2   DEFENDANT. Specifically, DEFENDANT from time to time requires PLAINTIFFS to work
    3   while clocked out during what was supposed to be PLAINTIFFS’ off-duty meal break.
    4   PLAINTIFFS are from time to time interrupted by work assignments. PLAINTIFFS work on
    5   DEFENDANT’s Los Angeles County Sheriff’s fleet maintenance team. As part of their job
    6   tasks for DEFENDANT, PLAINTIFFS repair and maintain police vehicles for Los Angeles
    7   County. Throughout their employment and more specifically for an example, in or around June
    8   and July of 2019, PLAINTIFFS’ would clock out for their meal periods but continue to work
    9   for DEFENDANT. PLAINTIFFS’ supervisor would direct them to work on police cars that
   10   came into DEFENDANT’s shop while PLAINTIFFS’ were already clocked out for their off
   11   duty meal periods. PLAINTIFFS did not clock back into DEFENDANT’s timekeeping system
   12   when performing this maintenance and repair throughout their employment and more
   13   specifically in June and July of 2019 as DEFENDANT instructed them not to. This repair
   14   included but was not limited to checking engines lights, maintaining the vehicle’s tires,
   15   replacing headlights and/or batteries on the car. Further, another job task performed by
   16   PLAINTIFFS was to travel to various dealerships for DEFENDANT to pick up vehicles that
   17   required warranty work. PLAINTIFFS’ shifts in or around June and July of 2019 would from
   18   time to time start at 6:00a.m and PLAINTIFFS would not take a meal period until after
   19   11:00a.m. due to DEFENDANT’s requirement that they complete certain job tasks as described
   20   herein. PLAINTIFFS would perform work at DEFENDANTS’ location at 1104 N. Eastern
   21   Avenue in Los Angeles County and then later in the morning travel to dealerships to pick up
   22   vehicles.   Typically the dealerships were approximately thirty minutes away from
   23   DEFENDANTS’ work site described above. There were days in June of 2019 and July of 2019
   24   and also continuing throughout the rest of their employment, where PLAINTIFFS would arrive
   25   back at DEFENDANT’s location with the cars and they had already worked over five (5) hours
   26   for the work shift but PLAINTIFFS were not able to take a meal period because they were on
   27   the road driving for DEFENDANT. Additionally, PLAINTIFFS had no way to swipe their
   28                                               28
                                 FIRST AMENDED CLASS ACTION COMPLAINT
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    1   badge out for a meal period because they were not at the facility but rather were driving on the
    2   road for DEFENDANT. PLAINTIFFS estimate that they spent twenty (20) to thirty (30)
    3   minutes off the clock per workweek with DEFENDANT as a result of the job tasks described
    4   herein. In these circumstances, DEFENDANT would unilaterally modify PLAINTIFFS time
    5   records to make it look as though PLAINTIFFS took a meal period prior to their fifth (5th) hour
    6   of work, but in fact PLAINTIFFS were working for DEFENDANT and PLAINTIFFS did not
    7   take a meal prior to their fifth (5th) hour of work for the work shift. On these days,
    8   DEFENDANTS failed to pay PLAINTIFFS a meal break penalty and also failed to pay
    9   PLAINTIFFS the proper minimum and overtime wages as PLAINTIFFS were working off the
   10   clock on the road but DEFENDANT had them clocked out of DEFENDANT’s timekeeping
   11   system.
   12          49.    By the conduct alleged herein, DEFENDANT’s practices are also unfair and
   13   deceptive in that DEFENDANT’s policies, practices and procedures fail to provide mandatory
   14   meal and/or rest breaks to PLAINTIFFS and the CALIFORNIA CLASS members.
   15          50.    Therefore, PLAINTIFFS demand on behalf of themselves and on behalf of each
   16   CALIFORNIA CLASS member, one (1) hour of pay for each workday in which an off-duty
   17   meal period was not timely provided for each five (5) hours of work, and/or one (1) hour of pay
   18   for each workday in which a second off-duty meal period was not timely provided for each ten
   19   (10) hours of work.
   20          51.    PLAINTIFFS further demand on behalf of themselves and on behalf of each
   21   CALIFORNIA CLASS member, one (1) hour of pay for each workday in which an off duty
   22   paid rest period was not timely provided as required by law.
   23          52.    By and through the unlawful and unfair business practices described herein,
   24   DEFENDANT has obtained valuable property, money and services from PLAINTIFFS and the
   25   other members of the CALIFORNIA CLASS, including earned wages for all overtime worked,
   26   and has deprived them of valuable rights and benefits guaranteed by law and contract, all to the
   27   detriment of these employees and to the benefit of DEFENDANT so as to allow DEFENDANT
   28                                                 29
                                  FIRST AMENDED CLASS ACTION COMPLAINT
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    1   to unfairly compete against competitors who comply with the law.
    2          53.    All the acts described herein as violations of, among other things, the Industrial
    3   Welfare Commission Wage Orders, the California Code of Regulations, and the California
    4   Labor Code, were unlawful and in violation of public policy, were immoral, unethical,
    5   oppressive and unscrupulous, were deceptive, and thereby constitute unlawful, unfair and
    6   deceptive business practices in violation of Cal. Bus. & Prof. Code §§ 17200, et seq.
    7          54.    PLAINTIFFS and the other members of the CALIFORNIA CLASS are entitled
    8   to, and do, seek such relief as may be necessary to restore to them the money and property
    9   which DEFENDANT has acquired, or of which PLAINTIFFS and the other members of the
   10   CALIFORNIA CLASS have been deprived, by means of the above described unlawful and
   11   unfair business practices, including earned but unpaid wages for all overtime worked.
   12          55.    PLAINTIFFS and the other members of the CALIFORNIA CLASS are further
   13   entitled to, and do, seek a declaration that the described business practices are unlawful, unfair
   14   and deceptive, and that injunctive relief should be issued restraining DEFENDANT from
   15   engaging in any unlawful and unfair business practices in the future.
   16          56.    PLAINTIFFS and the other members of the CALIFORNIA CLASS have no plain,
   17   speedy and/or adequate remedy at law that will end the unlawful and unfair business practices
   18   of DEFENDANT. Further, the practices herein alleged presently continue to occur unabated.
   19   As a result of the unlawful and unfair business practices described herein, PLAINTIFFS and
   20   the other members of the CALIFORNIA CLASS have suffered and will continue to suffer
   21   irreparable legal and economic harm unless DEFENDANT is restrained from continuing to
   22   engage in these unlawful and unfair business practices.
   23   ///
   24   ///
   25   ///
   26   ///
   27   ///
   28                                                  30
                                   FIRST AMENDED CLASS ACTION COMPLAINT
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    1                                SECOND CAUSE OF ACTION
    2                          For Failure To Pay Overtime Compensation
    3                          [Cal. Lab. Code §§ 204, 510, 1194 and 1198]
    4      (By PLAINTIFFS and the CALIFORNIA LABOR SUB-CLASS and Against All
    5                                           Defendants)
    6          57.    PLAINTIFFS, and the other members of the CALIFORNIA LABOR SUB-
    7   CLASS, reallege and incorporate by this reference, as though fully set forth herein, the prior
    8   paragraphs of this Complaint.
    9          58.    PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-CLASS
   10   bring a claim for DEFENDANT’s willful and intentional violations of the California Labor
   11   Code and the Industrial Welfare Commission requirements for DEFENDANT’s failure to
   12   accurately calculate the applicable rates for all overtime worked by PLAINTIFFS and other
   13   members of the CALIFORNIA LABOR SUB-CLASS and DEFENDANT’s failure to properly
   14   compensate the members of the CALIFORNIA LABOR SUB-CLASS for overtime worked,
   15   including, work performed in excess of eight (8) hours in a workday and/or forty (40) hours in
   16   any workweek. Specifically, DEFENDANT from time to time requires PLAINTIFFS to work
   17   while clocked out during what was supposed to be PLAINTIFFS’ off-duty meal breaks.
   18   PLAINTIFFS are from time to time interrupted by work assignments. PLAINTIFFS work on
   19   DEFENDANT’s Los Angeles County Sheriff’s fleet maintenance team. As part of their job
   20   tasks for DEFENDANT, PLAINTIFFS repair and maintain police vehicles for Los Angeles
   21   County. Throughout their employment and more specifically for an example, in or around June
   22   and July of 2019, PLAINTIFFS would clock out for their meal periods but continue to work for
   23   DEFENDANT. PLAINTIFFS’ supervisor would direct them to work on police cars that came
   24   into DEFENDANT’s shop while PLAINTIFFS were already clocked out for their off duty meal
   25   periods. PLAINTIFFS did not clock back into DEFENDANT’s timekeeping system when
   26   performing this maintenance and repair throughout their employment and more specifically in
   27   June and July of 2019 at the direction of DEFENDANT’s supervisors. This repair included but
   28                                                31
                                  FIRST AMENDED CLASS ACTION COMPLAINT
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    1   was not limited to checking engines lights, maintaining the vehicle’s tires, replacing headlights
    2   and/or batteries on the car. Further, another job task performed by PLAINTIFFS was to travel
    3   to various dealerships for DEFENDANT to pick up vehicles that required warranty work.
    4   PLAINTIFFS’ shifts in or around June and July of 2019 would from time to time start at
    5   6:00a.m and PLAINTIFFS would not take a meal period until after 11:00a.m. due to
    6   DEFENDANT’s requirement that they complete certain job tasks as described herein.
    7   PLAINTIFFS would perform work at DEFENDANT’s location at 1104 N. Eastern Avenue in
    8   Los Angeles County and then later in the morning travel to dealerships to pick up vehicles.
    9   Typically, the dealerships were approximately thirty minutes away from DEFENDANT’s work-
   10   site described above. There were days in June of 2019 and July of 2019 and also continuing
   11   throughout the rest of their employment, where PLAINTIFFS would arrive back at
   12   DEFENDANT’s location with the cars and they had already worked over five (5) hours for the
   13   shift but were not able to take a meal period because they were on the road driving for
   14   DEFENDANT. Additionally, PLAINTIFFS had no way to swipe their badge out for a meal
   15   period because they were not at the facility but rather were driving on the road for
   16   DEFENDANT. PLAINTIFFS estimate that they spent twenty (20) to thirty (30) minutes off
   17   the clock per workweek with DEFENDANT as a result of the job tasks described herein. In
   18   these circumstances, DEFENDANT would unilaterally modify PLAINTIFFS time records to
   19   make it look as though PLAINTIFFS took a meal period prior to their fifth hour of work, but
   20   in fact PLAINTIFFS were working for DEFENDANT and PLAINTIFFS did not take a meal
   21   prior to their fifth (5th) hour of work for the work shift. On these days, DEFENDANTS failed
   22   to pay PLAINTIFFS a meal break penalty and also failed to pay PLAINTIFFS the proper
   23   minimum and overtime wages as PLAINTIFFS were working off the clock on the road but
   24   DEFENDANT had them clocked out of DEFENDANT’s timekeeping system.
   25          59.    Pursuant to Cal. Lab. Code § 204, other applicable laws and regulations, and
   26   public policy, an employer must timely pay its employees for all hours worked.
   27          60.    Cal. Lab. Code § 510 further provides that employees in California shall not be
   28                                                  32
                                  FIRST AMENDED CLASS ACTION COMPLAINT
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    1   employed more than eight (8) hours per workday and/or more than forty (40) hours per
    2   workweek unless they receive additional compensation beyond their regular wages in amounts
    3   specified by law.
    4          61.    Cal. Lab. Code § 1194 establishes an employee’s right to recover unpaid wages,
    5   including overtime compensation and interest thereon, together with the costs of suit. Cal. Lab.
    6   Code § 1198 further states that the employment of an employee for longer hours than those
    7   fixed by the Industrial Welfare Commission is unlawful.
    8          62.    During the CALIFORNIA LABOR SUB-CLASS PERIOD, PLAINTIFFS and
    9   CALIFORNIA LABOR SUB-CLASS Members were required, permitted or suffered by
   10   DEFENDANT to work for DEFENDANT and were not paid for all the time they worked,
   11   including overtime work.
   12          64.    DEFENDANT maintained a wage practice of paying PLAINTIFFS and
   13   the other members of the CALIFORNIA LABOR SUB-CLASS without regard to the correct
   14   amount of overtime worked and correct applicable overtime rate for the amount of overtime
   15   they worked. As set forth herein, DEFENDANT’s policy and practice was to unlawfully and
   16   intentionally deny timely payment of wages due for the overtime worked by PLAINTIFFS and
   17   the other members of the CALIFORNIA LABOR SUB-CLASS, and DEFENDANT in fact
   18   failed to pay these employees the correct applicable overtime wages for all overtime worked.
   19          65.    DEFENDANT’s unlawful wage and hour practices manifested, without
   20   limitation, applicable to the CALIFORNIA LABOR SUB-CLASS as a whole, as a result of
   21   implementing a policy and practice that denied accurate compensation to PLAINTIFFS and the
   22   other members of the CALIFORNIA LABOR SUB-CLASS for all overtime worked, including,
   23   the work performed in excess of eight (8) hours in a workday and/or forty (40) hours in any
   24   workweek.
   25          66.    In committing these violations of the California Labor Code, DEFENDANT
   26   inaccurately calculated the amount of overtime worked and the applicable overtime rates and
   27   consequently underpaid the actual time worked by PLAINTIFFS and other members of the
   28                                                 33
                                   FIRST AMENDED CLASS ACTION COMPLAINT
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    1   CALIFORNIA LABOR SUB-CLASS. DEFENDANT acted in an illegal attempt to avoid the
    2   payment of all earned wages, and other benefits in violation of the California Labor Code, the
    3   Industrial Welfare Commission requirements and other applicable laws and regulations.
    4          67.    As a direct result of DEFENDANT’s unlawful wage practices as alleged herein,
    5   PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-CLASS did not
    6   receive full compensation for all overtime worked.
    7          68.    Cal. Lab. Code § 515 sets out various categories of employees who are exempt
    8   from the overtime requirements of the law. None of these exemptions are applicable to
    9   PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-CLASS. Further,
   10   PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-CLASS are not
   11   subject to a valid collective bargaining agreement that would preclude the causes of action
   12   contained herein this Complaint. Rather, the PLAINTIFFS bring this Action on behalf of
   13   themselves and the CALIFORNIA LABOR SUB-CLASS based on DEFENDANT’s violations
   14   of non-negotiable, non-waiveable rights provided by the State of California.
   15          69.    During the CALIFORNIA LABOR SUB-CLASS PERIOD, PLAINTIFFS and the
   16   other members of the CALIFORNIA LABOR SUB-CLASS were paid less for time worked that
   17   they were entitled to, constituting a failure to pay all earned wages.
   18          70.    DEFENDANT failed to accurately pay PLAINTIFFS and the other members of
   19   the CALIFORNIA LABOR SUB-CLASS overtime wages for the time they worked which was
   20   in excess of the maximum hours permissible by law as required by Cal. Lab. Code §§ 510, 1194
   21   & 1198, even though PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-
   22   CLASS were required to work, and did in fact work, overtime as to which DEFENDANT failed
   23   to accurately record and pay using the applicable overtime rate as evidenced by
   24   DEFENDANT’s business records and witnessed by employees.
   25          71.    By virtue of DEFENDANT's unlawful failure to accurately pay all earned
   26   compensation to PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-
   27   CLASS for the true time they worked, PLAINTIFFS and the other members of the
   28                                                  34
                                  FIRST AMENDED CLASS ACTION COMPLAINT
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    1   CALIFORNIA LABOR SUB-CLASS have suffered and will continue to suffer an economic
    2   injury in amounts which are presently unknown to them and which will be ascertained
    3   according to proof at trial.
    4          72.    DEFENDANT knew or should have known that PLAINTIFFS and the other
    5   members of the CALIFORNIA LABOR SUB-CLASS are under compensated for their overtime
    6   worked. DEFENDANT elected, either through intentional malfeasance or gross nonfeasance,
    7   to not pay employees for their labor as a matter of company policy, practice and procedure, and
    8   DEFENDANT perpetrated this scheme by refusing to pay PLAINTIFFS and the other members
    9   of the CALIFORNIA LABOR SUB-CLASS the applicable overtime rate.
   10          73.    In performing the acts and practices herein alleged in violation of California labor
   11   laws, and refusing to compensate the members of the CALIFORNIA LABOR SUB-CLASS for
   12   all time worked and provide them with the requisite overtime compensation, DEFENDANT
   13   acted and continues to act intentionally, oppressively, and maliciously toward PLAINTIFFS and
   14   the other members of the CALIFORNIA LABOR SUB-CLASS with a conscious of and utter
   15   disregard for their legal rights, or the consequences to them, and with the despicable intent of
   16   depriving them of their property and legal rights, and otherwise causing them injury in order
   17   to increase company profits at the expense of these employees.
   18          74.    PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-CLASS
   19   therefore request recovery of all unpaid wages, including overtime wages, according to proof,
   20   interest, statutory costs, as well as the assessment of any statutory penalties against
   21   DEFENDANT, in a sum as provided by the California Labor Code and/or other applicable
   22   statutes. To the extent overtime compensation is determined to be owed to the CALIFORNIA
   23   LABOR SUB-CLASS Members who have terminated their employment, DEFENDANT’S
   24   conduct also violates Labor Code §§ 201 and/or 202, and therefore these individuals are also
   25   be entitled to waiting time penalties under Cal. Lab. Code § 203, which penalties are sought
   26   herein on behalf of these CALIFORNIA LABOR SUB-CLASS Members. DEFENDANT’s
   27   conduct as alleged herein was willful, intentional and not in good faith. Further, PLAINTIFFS
   28                                                  35
                                   FIRST AMENDED CLASS ACTION COMPLAINT
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    1   and other CALIFORNIA LABOR SUB-CLASS Members are entitled to seek and recover
    2   statutory costs.
    3
    4                                   THIRD CAUSE OF ACTION
    5                              For Failure To Pay Minimum Wages
    6                           [Cal. Lab. Code §§ 1194, 1197 and 1197.1]
    7                (By PLAINTIFFS and the CALIFORNIA LABOR SUB-CLASS
    8                                   and Against All Defendants)
    9          75.    PLAINTIFFS, and the other members of the CALIFORNIA LABOR SUB-
   10   CLASS, reallege and incorporate by this reference, as though fully set forth herein, the prior
   11   paragraphs of this Complaint.
   12          76.    PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-CLASS
   13   bring a claim for DEFENDANT’s willful and intentional violations of the California Labor
   14   Code and the Industrial Welfare Commission requirements for DEFENDANT’s failure to
   15   accurately calculate and pay minimum and reporting time wages to PLAINTIFFS and
   16   CALIFORNIA CLASS Members.
   17          77.    Pursuant to Cal. Lab. Code § 204, other applicable laws and regulations, and
   18   public policy, an employer must timely pay its employees for all hours worked.
   19          78.    Cal. Lab. Code § 1197 provides the minimum wage for employees fixed by the
   20   commission is the minimum wage to be paid to employees, and the payment of a less wage than
   21   the minimum so fixed in unlawful.
   22          79.    Cal. Lab. Code § 1194 establishes an employee’s right to recover unpaid wages,
   23   including minimum wage compensation and interest thereon, together with the costs of suit.
   24          80.    DEFENDANT maintained a wage practice of paying PLAINTIFFS and the other
   25   members of the CALIFORNIA LABOR SUB-CLASS without regard to the correct amount of
   26   time they work. As set forth herein, DEFENDANT’s policy and practice was to unlawfully and
   27   intentionally deny timely payment of wages due to PLAINTIFFS and the other members of the
   28                                                36
                                  FIRST AMENDED CLASS ACTION COMPLAINT
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    1   CALIFORNIA LABOR SUB-CLASS. DEFENDANT requires these employees to work off
    2   the clock without paying them for all the time they were under DEFENDANT’s control.
    3   Specifically, DEFENDANT from time to time requires PLAINTIFFS to work while clocked out
    4   during what was supposed to be PLAINTIFFS’ off-duty meal breaks. PLAINTIFFS are from
    5   time to time interrupted by work assignments. PLAINTIFFS work on DEFENDANT’s Los
    6   Angeles County Sheriff’s fleet maintenance team. As part of their job tasks for DEFENDANT,
    7   PLAINTIFFS repair and maintain police vehicles for Los Angeles County. Throughout their
    8   employment and more specifically for an example, in or around June and July of 2019,
    9   PLAINTIFFS would clock out for their meal periods but continue to work for DEFENDANT
   10   as directed by DEFENDANT. PLAINTIFFS’ supervisor would direct them to work on police
   11   cars that came into DEFENDANT’s shop while PLAINTIFFS were already clocked out for
   12   their off duty meal periods. PLAINTIFFS did not clock back into DEFENDANT’s timekeeping
   13   system when performing this maintenance and repair throughout their employment and more
   14   specifically in June and July of 2019 as directed by DEFENDANT’s supervisors. This repair
   15   included but was not limited to checking engine lights, maintaining the vehicle’s tires, replacing
   16   headlights and/or batteries on the car. Further, another job task performed by PLAINTIFFS
   17   was to travel to various dealerships for DEFENDANT to pick up vehicles that required
   18   warranty work. PLAINTIFFS’ shifts in or around June and July of 2019 would from time to
   19   time start at 6:00a.m and PLAINTIFFS did not take a meal period until after 11:00a.m. due to
   20   DEFENDANT’s requirement that they complete certain job tasks as described herein.
   21   PLAINTIFFS would perform work at DEFENDANT’s location at 1104 N. Eastern Avenue in
   22   Los Angeles County and then later in the morning travel to dealerships to pick up vehicles that
   23   required warranty work. Typically, the dealerships were approximately thirty minutes away
   24   from DEFENDANT’s work site described above. There were days in June of 2019 and July
   25   of 2019 and also continuing throughout the rest of their employment, where PLAINTIFFS
   26   would arrive back at DEFENDANT’s location with the cars and PLAINTIFFS had already
   27   worked over five (5) hours for the shift but were not able to take a meal period because they
   28                                                  37
                                   FIRST AMENDED CLASS ACTION COMPLAINT
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    1   were on the road driving for DEFENDANT. Additionally, PLAINTIFFS had no way to swipe
    2   their badge out for a meal period because they were not at the facility but rather were driving
    3   on the road for DEFENDANT. PLAINTIFFS estimate that they spent twenty (20) to thirty (30)
    4   minutes off the clock per workweek with DEFENDANT as a result of the job tasks described
    5   herein. In these circumstances, DEFENDANT would unilaterally modify PLAINTIFFS time
    6   records to make it look as though PLAINTIFFS took a meal period prior to their fifth hour of
    7   work, but in fact PLAINTIFFS were working for DEFENDANT and PLAINTIFFS did not take
    8   a meal prior to their fifth (5th) hour of work for the work shift. On these days, DEFENDANTS
    9   failed to pay PLAINTIFFS a meal break penalty and also failed to pay PLAINTIFFS the proper
   10   minimum and overtime wages as PLAINTIFFS were working off the clock on the road but
   11   DEFENDANT had them clocked out of DEFENDANT’s timekeeping system. Indeed there
   12   were days where PLAINTIFFS did not even receive a partial lunch. As a result, PLAINTIFFS
   13   and other CALIFORNIA CLASS Members forfeit minimum wage and overtime compensation
   14   by working from time to time without their time being accurately recorded and without
   15   compensation at the applicable minimum wage and overtime rates. To the extent that the time
   16   worked off the clock did not qualify for overtime premium payment, DEFENDANT failed to
   17   pay minimum wages for the time worked off-the-clock in violation of Cal. Lab. Code §§ 1194,
   18   1197, and 1197.1.
   19          81.    DEFENDANT’s unlawful wage and hour practices manifested, without
   20   limitation, applicable to the CALIFORNIA LABOR SUB-CLASS as a whole, as a result of
   21   implementing a policy and practice that denies accurate compensation to PLAINTIFFS and the
   22   other members of the CALIFORNIA LABOR SUB-CLASS in regards to minimum wage pay.
   23          82.    In committing these violations of the California Labor Code, DEFENDANT
   24   inaccurately calculated the correct time worked and consequently underpaid the actual time
   25   worked by PLAINTIFFS and other members of the CALIFORNIA LABOR SUB-CLASS.
   26   DEFENDANT acted in an illegal attempt to avoid the payment of all earned wages, and other
   27   benefits in violation of the California Labor Code, the Industrial Welfare Commission
   28                                                 38
                                  FIRST AMENDED CLASS ACTION COMPLAINT
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    1   requirements and other applicable laws and regulations.
    2            83.   As a direct result of DEFENDANT’s unlawful wage practices as alleged herein,
    3   PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-CLASS did not
    4   receive the correct minimum wage compensation for their time worked for DEFENDANT.
    5            84.   During the CALIFORNIA LABOR SUB-CLASS PERIOD, DEFENDANT
    6   required, permitted or suffered PLAINTIFFS and CALIFORNIA LABOR SUB-CLASS
    7   Members to work without paying them for all the time they were under DEFENDANT’s
    8   control. PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-CLASS were
    9   paid less for time worked that they were entitled to, constituting a failure to pay all earned
   10   wages.
   11            85.   By virtue of DEFENDANT’s unlawful failure to accurately pay all earned
   12   compensation to PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-
   13   CLASS for the true time they worked, PLAINTIFFS and the other members of the
   14   CALIFORNIA LABOR SUB-CLASS have suffered and will continue to suffer an economic
   15   injury in amounts which are presently unknown to them and which will be ascertained
   16   according to proof at trial.
   17            86.   DEFENDANT knew or should have known that PLAINTIFFS and the other
   18   members of the CALIFORNIA LABOR SUB-CLASS were under compensated for their time
   19   worked. DEFENDANT elected, either through intentional malfeasance or gross nonfeasance,
   20   to not pay employees for their labor as a matter of company policy, practice and procedure, and
   21   DEFENDANT perpetrated this scheme by refusing to pay PLAINTIFFS and the other members
   22   of the CALIFORNIA LABOR SUB-CLASS the correct minimum wages for their time worked.
   23            87.   In performing the acts and practices herein alleged in violation of California labor
   24   laws, and refusing to compensate the members of the CALIFORNIA LABOR SUB-CLASS for
   25   all time worked and provide them with the requisite compensation, DEFENDANT acted and
   26   continues to act intentionally, oppressively, and maliciously toward PLAINTIFFS and the other
   27   members of the CALIFORNIA LABOR SUB-CLASS with a conscious and utter disregard for
   28                                                   39
                                   FIRST AMENDED CLASS ACTION COMPLAINT
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    1   their legal rights, or the consequences to them, and with the despicable intent of depriving them
    2   of their property and legal rights, and otherwise causing them injury in order to increase
    3   company profits at the expense of these employees.
    4          88.    PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-CLASS
    5   therefore request recovery of all unpaid wages, according to proof, interest, statutory costs, as
    6   well as the assessment of any statutory penalties against DEFENDANT, in a sum as provided
    7   by the California Labor Code and/or other applicable statutes. To the extent minimum wage
    8   compensation is determined to be owed to the CALIFORNIA LABOR SUB-CLASS Members
    9   who have terminated their employment, DEFENDANT’s conduct also violates Labor Code §§
   10   201 and/or 202, and therefore these individuals are also be entitled to waiting time penalties
   11   under Cal. Lab. Code § 203, which penalties are sought herein on behalf of these
   12   CALIFORNIA LABOR SUB-CLASS Members. DEFENDANT’s conduct as alleged herein
   13   was willful, intentional and not in good faith. Further, PLAINTIFFS and other CALIFORNIA
   14   LABOR SUB-CLASS Members are entitled to seek and recover statutory costs
   15
   16                                 FOURTH CAUSE OF ACTION
   17                         For Failure to Provide Required Meal Periods
   18                                 [Cal. Lab. Code §§ 226.7 & 512 ]
   19      (By PLAINTIFFS and the CALIFORNIA LABOR SUB-CLASS and Against All
   20                                            Defendants)
   21          89.    PLAINTIFFS, and the other members of the CALIFORNIA LABOR SUB-
   22   CLASS, reallege and incorporate by this reference, as though fully set forth herein, the prior
   23   paragraphs of this Complaint.
   24          90.    During the CALIFORNIA CLASS PERIOD, from time to time, DEFENDANT
   25   fails to provide all the legally required off-duty meal breaks to PLAINTIFFS and the other
   26   CALIFORNIA LABOR SUB-CLASS Members as required by the applicable Wage Order and
   27   Labor Code. The nature of the work performed by PLAINTIFFS and CALIFORNIA LABOR
   28                                                  40
                                  FIRST AMENDED CLASS ACTION COMPLAINT
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    1   SUB-CLASS MEMBERS does not prevent these employees from being relieved of all of their
    2   duties for the legally required off-duty meal periods. As a result of their rigorous work
    3   schedules, PLAINTIFFS and other CALIFORNIA LABOR SUB-CLASS Members are from
    4   time to time not fully relieved of duty by DEFENDANT for their meal periods. Additionally,
    5   DEFENDANT’s failure to provide PLAINTIFFS and the CALIFORNIA LABOR SUB-CLASS
    6   Members with legally required meal breaks prior to their fifth (5th) hour of work is evidenced
    7   by DEFENDANT’s business records. As a result, PLAINTIFFS and other members of the
    8   CALIFORNIA LABOR SUB-CLASS therefore forfeit meal breaks without additional
    9   compensation and in accordance with DEFENDANT’s strict corporate policy and practice.
   10   DEFENDANT requires these employees to work off the clock without paying them for all the
   11   time they were under DEFENDANT’s control. Specifically, DEFENDANT from time to time
   12   requires PLAINTIFFS to work while clocked out during what was supposed to be
   13   PLAINTIFFS’ off-duty meal breaks. PLAINTIFFS are from time to time interrupted by work
   14   assignments. PLAINTIFFS work on DEFENDANT’s Los Angeles County Sheriff’s fleet
   15   maintenance team. As part of their job tasks for DEFENDANT, PLAINTIFFS repair and
   16   maintain police vehicles for Los Angeles County. Throughout their employment and more
   17   specifically for an example, in or around June and July of 2019, PLAINTIFFS would clock out
   18   for their meal periods but continue to work for DEFENDANT as directed by DEFENDANT.
   19   PLAINTIFFS’ supervisor would direct them to work on police cars that came into
   20   DEFENDANT’s shop while PLAINTIFFS were already clocked out for their off duty meal
   21   periods. PLAINTIFFS did not clock back into DEFENDANT’s timekeeping system when
   22   performing this maintenance and repair throughout their employment and more specifically in
   23   June and July of 2019 as directed by DEFENDANT’s supervisors. This repair included but
   24   was not limited to checking engine lights, maintaining the vehicle’s tires, replacing headlights
   25   and/or batteries on the car. Further, another job task performed by PLAINTIFFS was to travel
   26   to various dealerships for DEFENDANT to pick up vehicles that required warranty work.
   27   PLAINTIFFS’ shifts in or around June and July of 2019 would from time to time start at
   28                                                 41
                                  FIRST AMENDED CLASS ACTION COMPLAINT
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    1   6:00a.m and PLAINTIFFS did not take a meal period until after 11:00a.m. due to
    2   DEFENDANT’s requirement that they complete certain job tasks as described herein.
    3   PLAINTIFFS would perform work at DEFENDANT’s location at 1104 N. Eastern Avenue in
    4   Los Angeles County and then later in the morning travel to dealerships to pick up vehicles that
    5   required warranty work. Typically, the dealerships were approximately thirty minutes away
    6   from DEFENDANT’s work site described above. There were days in June of 2019 and July
    7   of 2019 and also continuing throughout the rest of their employment, where PLAINTIFFS
    8   would arrive back at DEFENDANT’s location with the cars and PLAINTIFFS had already
    9   worked over five (5) hours for the shift but were not able to take a meal period because they
   10   were on the road driving for DEFENDANT. Additionally, PLAINTIFFS had no way to swipe
   11   their badge out for a meal period because they were not at the facility but rather were driving
   12   on the road for DEFENDANT. PLAINTIFFS estimate that they spent twenty (20) to thirty (30)
   13   minutes off the clock per workweek with DEFENDANT as a result of the job tasks described
   14   herein. In these circumstances, DEFENDANT would unilaterally modify PLAINTIFFS time
   15   records to make it look as though PLAINTIFFS took a meal period prior to their fifth hour of
   16   work, but in fact PLAINTIFFS were working for DEFENDANT and PLAINTIFFS did not take
   17   a meal prior to their fifth (5th) hour of work for the work shift. On these days, DEFENDANTS
   18   failed to pay PLAINTIFFS a meal break penalty and also failed to pay PLAINTIFFS the proper
   19   minimum and overtime wages as PLAINTIFFS were working off the clock on the road but
   20   DEFENDANT had them clocked out of DEFENDANT’s timekeeping system. Indeed there
   21   were days where PLAINTIFFS did not even receive a partial lunch.
   22          91.    DEFENDANT further violated California Labor Code §§ 226.7 and the
   23   applicable IWC Wage Order by failing to compensate PLAINTIFFS and CALIFORNIA
   24   LABOR SUB-CLASS Members who were not provided a meal period, in accordance with the
   25   applicable Wage Order, one additional hour of compensation at each employee’s regular rate
   26   of pay for each workday that a meal period was not provided.
   27          92.    As a proximate result of the aforementioned violations, PLAINTIFFS and
   28                                                 42
                                  FIRST AMENDED CLASS ACTION COMPLAINT
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    1   CALIFORNIA LABOR SUB-CLASS Members have been damaged in an amount according
    2   to proof at trial, and seek all wages earned and due, interest, penalties, expenses and costs of
    3   suit.
    4
    5                                   FIFTH CAUSE OF ACTION
    6                          For Failure to Provide Required Rest Periods
    7                                [Cal. Lab. Code §§ 226.7 & 512 ]
    8       (By PLAINTIFFS and the CALIFORNIA LABOR SUB-CLASS and Against All
    9                                            Defendants)
   10           93.   PLAINTIFFS, and the other members of the CALIFORNIA LABOR SUB-
   11   CLASS, reallege and incorporate by this reference, as though fully set forth herein, the prior
   12   paragraphs of this Complaint.
   13           94.   PLAINTIFFS and other CALIFORNIA LABOR SUB-CLASS Members are from
   14   time to time required to work in excess of four (4) hours without being provided ten (10) minute
   15   rest periods. Further, these employees are denied their first rest periods of at least ten (10)
   16   minutes for some shifts worked of at least two (2) to four (4) hours, a first and second rest
   17   period of at least ten (10) minutes for some shifts worked of between six (6) and eight (8)
   18   hours, and a first, second and third rest period of at least ten (10) minutes for some shifts
   19   worked of ten (10) hours or more from time to time. PLAINTIFFS and other CALIFORNIA
   20   LABOR SUB-CLASS Members are also not provided with one hour wages in lieu thereof. As
   21   a result of their rigorous work schedules, PLAINTIFFS and other CALIFORNIA LABOR SUB-
   22   CLASS Members are periodically denied their proper rest periods by DEFENDANT and
   23   DEFENDANT’s managers. Additionally, the applicable California Wage Order requires
   24   employers to provide employees with off-duty rest periods, which the California Supreme Court
   25   defined as time during which an employee is relieved from all work related duties and free from
   26   employer control. In so doing, the Court held that the requirement under California law that
   27   employers authorize and permit all employees to take rest period means that employers must
   28                                                 43
                                  FIRST AMENDED CLASS ACTION COMPLAINT
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    1   relieve employees of all duties and relinquish control over how employees spend their time
    2   which includes control over the locations where employees may take their rest period.
    3   Employers cannot impose controls that prohibit an employee from taking a brief walk - five
    4   minutes out, five minutes back. Here, DEFENDANT’s policy restricts PLAINTIFFS and other
    5   CALIFORNIA CLASS Members from unconstrained walks and is unlawful based on
    6   DEFENDANT’s rule which requires PLAINTIFFS and other CALIFORNIA CLASS Members
    7   to remain on the work premises during their rest period. A true and correct copy of
    8   DEFENDANT’s rest break policy is attached hereto as Exhibit #1. In or around June and July
    9   of 2019 and continuing throughout the rest of their employment, PLAINTIFFS followed
   10   DEFENDANT’s uniform policy and remained on DEFENDANT’s premises for the duration
   11   of their rest periods. During the time in which PLAINTIFFS should have been on their off duty
   12   paid rest periods, police cars would arrive with maintenance requests and because PLAINTIFFS
   13   were required to remain on the premises by DEFENDANT’s managers and DEFENDANT’s
   14   company policy, PLAINTIFFS would also then be required to perform maintenance work as
   15   needed and directed by PLAINTIFFS’ supervisors. This maintenance work included, but was
   16   not limited to, replacing batteries, changing tires, replacing headlights and tail lights, and or
   17   performing other diagnostic testes on the vehicles. PLAINTIFFS were never paid rest period
   18   violation penalties by DEFENDANTS for these interrupted rest periods in June and July of
   19   2019 and continuing throughout the rest of their employment with DEFENDANT..
   20          95.    DEFENDANT further violates California Labor Code §§ 226.7 and the applicable
   21   IWC Wage Order by failing to compensate PLAINTIFFS and CALIFORNIA LABOR SUB-
   22   CLASS Members who are not provided a rest period, in accordance with the applicable Wage
   23   Order, one additional hour of compensation at each employee’s regular rate of pay for each
   24   workday that rest period was not provided.
   25          96.    As a proximate result of the aforementioned violations, PLAINTIFFS and
   26   CALIFORNIA LABOR SUB-CLASS Members have been damaged in an amount according
   27   to proof at trial, and seek all wages earned and due, interest, penalties, expenses and costs of
   28                                                  44
                                  FIRST AMENDED CLASS ACTION COMPLAINT
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    1   suit.
    2                                     SIXTH CAUSE OF ACTION
    3                       For Failure to Provide Accurate Itemized Statements
    4                                        [Cal. Lab. Code § 226]
    5       (By PLAINTIFFS and the CALIFORNIA LABOR SUB-CLASS and Against All
    6                                             Defendants)
    7           97.    PLAINTIFFS, and the other members of the CALIFORNIA LABOR SUB-
    8   CLASS, reallege and incorporate by this reference, as though fully set forth herein, the prior
    9   paragraphs of this Complaint.
   10           98.    Cal. Labor Code § 226 provides that an employer must furnish employees with
   11   an “accurate itemized” statement in writing showing:
   12           (1) gross wages earned,
   13           (2) total hours worked by the employee, except for any employee whose compensation
   14           is solely based on a salary and who is exempt from payment of overtime under
   15           subdivision (a) of Section 515 or any applicable order of the Industrial Welfare
   16           Commission,
   17           (3) the number of piecerate units earned and any applicable piece rate if the employee
   18           is paid on a piece-rate basis,
   19           (4) all deductions, provided that all deductions made on written orders of the employee
   20           may be aggregated and shown as one item,
   21           (5) net wages earned,
   22           (6) the inclusive dates of the period for which the employee is paid,
   23           (7) the name of the employee and his or her social security number, except that by
   24           January 1, 2008, only the last four digits of his or her social security number or an
   25           employee identification number other than a social security number may be shown on
   26           the itemized statement,
   27           (8) the name and address of the legal entity that is the employer, and
   28                                                  45
                                   FIRST AMENDED CLASS ACTION COMPLAINT
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    1          (9) all applicable hourly rates in effect during the pay period and the corresponding
    2          number of hours worked at each hourly rate by the employee.
    3          99.    From time to time, DEFENDANT also fails to provide PLAINTIFFS and the
    4   other members of the CALIFORNIA LABOR SUB-CLASS with complete and accurate wage
    5   statements which failed to show, among other things, the correct gross and net wages earned
    6   and correct amount of time worked. Cal. Lab. Code § 226 provides that every employer shall
    7   furnish each of his or her employees with an accurate itemized wage statement in writing
    8   showing, among other things, gross wages earned and all applicable hourly rates in effect
    9   during the pay period and the corresponding amount of time worked at each hourly rate.
   10   Specifically, DEFENDANT violated Section 226 by failing to identify the correct rates of pay
   11   and number of hours worked, including for the “Retro Pay,” item of pay, which is a wage
   12   payment. DEFENDANT issued Plaintiff Loaiza a wage statement in February 22, 2019 that
   13   listed a line item “Retro Pay” in the amount of $471.37. DEFENDANT failed to list any hours
   14   worked or rate at which this money was earned associated with this wage payment in violation
   15   of Cal. Lab. Code 226(a)(9). A true and correct copy of Plaintiff Loaiza’s wage statement
   16   issued on February 22, 2019 is attached hereto as Exhibit #2. DEFENDANT issued Plaintiff
   17   Guillen a wage statement on September 27, 2019 that listed a line item entitled “Retro Pay” in
   18   the amount of $3,170.90. DEFENDANT failed to list any hours worked or rate at which this
   19   money was earned associated with this wage payment in violation of Cal. Lab. Code 226(a)(9).
   20   A true and correct copy of Plaintiff Guillen’s wage statement issued on September 27, 2019 is
   21   attached hereto as Exhibit #3. Additionally, for the reasons set forth in paragraphs Numbers
   22   11, 12, and 13 of this Complaint regadring PLAINTIFFS being required to work of the clock
   23   and not be paid the correct minimum and overtime wages, DEFENDANT issued pay statements
   24   to PLAINTIFFS that failed to list the correct gross wages earned in violation of Cal. Lab. Code
   25   Section 226(a)(1). Aside, from the violations listed above in this paragraph, DEFENDANT
   26   fails to issue to PLAINTIFFS an itemized wage statement that lists all the requirements under
   27   California Labor Code 226 et seq. As a result, DEFENDANT from time to time provides
   28                                                 46
                                  FIRST AMENDED CLASS ACTION COMPLAINT
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    1   PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-CLASS with wage
    2   statements which violated Cal. Lab. Code § 226.
    3          100.   DEFENDANT knowingly and intentionally failed to comply with Cal. Labor
    4   Code § 226, causing injury and damages to the PLAINTIFFS and the other members of the
    5   CALIFORNIA LABOR SUB-CLASS. These damages include, but are not limited to, costs
    6   expended calculating the correct rates for the overtime worked and the amount of employment
    7   taxes which were not properly paid to state and federal tax authorities. These damages are
    8   difficult to estimate. Therefore, PLAINTIFFS and the other members of the CALIFORNIA
    9   LABOR SUB-CLASS may elect to recover liquidated damages of fifty dollars ($50.00) for the
   10   initial pay period in which the violation occurred, and one hundred dollars ($100.00) for each
   11   violation in a subsequent pay period pursuant to Cal. Lab. Code § 226, in an amount according
   12   to proof at the time of trial (but in no event more than four thousand dollars ($4,000.00) for
   13   PLAINTIFFS and each respective member of the CALIFORNIA LABOR SUB-CLASS herein).
   14
   15                                 SEVENTH CAUSE OF ACTION
   16                  For Failure to Reimburse Employees for Required Expenses
   17                                      [Cal. Lab. Code § 2802]
   18      (By PLAINTIFFS and the CALIFORNIA LABOR SUB-CLASS and Against All
   19                                             Defendants)
   20          101.   PLAINTIFFS and the other CALIFORNIA LABOR SUB-CLASS members
   21   reallege and incorporate by this reference, as though fully set forth herein, the prior paragraphs
   22   of this Complaint.
   23                 Cal. Lab. Code § 2802 provides, in relevant part, that:
   24          An employer shall indemnify his or her employee for all necessary expenditures
               or losses incurred by the employee in direct consequence of the discharge of his
   25          or her duties, or of his or her obedience to the directions of the employer, even
               though unlawful, unless the employee, at the time of obeying the directions,
   26          believed them to be unlawful.
   27          102.   In the course of their employment PLAINTIFFS and other CALIFORNIA
   28                                                  47
                                   FIRST AMENDED CLASS ACTION COMPLAINT
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    1   LABOR SUB-CLASS Members as a business expense, are required by DEFENDANT to
    2   purchase and supply their own tools and equipment that are necessary to perform services as
    3   auto technicians for DEFENDANT. DEFENDANT violated Cal. Lab. Code. Section 2802 and
    4   IWC Wage Order Section 9(B) with respect to PLAINTIFFS and the CALIFORNIA LABOR
    5   SUB-CLASS Members because DEFENDANT requires these employees to supply their own
    6   tools and equipment to perform services for DEFENDANT but fails to reimburse for such
    7   expenses, or, in the alternative, pay PLAINTIFF and CALIFORNIA LABOR SUB-CLASS
    8   Members at least two time the minimum wage. As a result, in the course of their employment
    9   with DEFENDANT, PLAINTIFFS and other members of the CALIFORNIA LABOR SUB-
   10   CLASS incurred unreimbursed business expenses which include, but are not limited to, costs
   11   related to the purchase of their own tools and equipment all on behalf of and for the benefit of
   12   DEFENDANT.
            103. PLAINTIFFS therefore demand reimbursement for expenditures or losses
   13
        incurred by her and the CALIFORNIA LABOR SUB-CLASS members in the discharge of their
   14
        job duties for DEFENDANT, or their obedience to the directions of DEFENDANT, with
   15
        interest at the statutory rate and costs under Cal. Lab. Code § 2802.
   16
   17
                                          EIGHTH CAUSE OF ACTION
   18
                                    For Failure to Pay Wages When Due
   19
                                      [Cal. Lab. Code §§ 201, 202, 203]
   20
          (By Plaintiff Zamora and the CALIFORNIA LABOR SUB-CLASS and Against All
   21
                                                 Defendants)
   22
               104.   Plaintiff Zamora, and the other members of the CALIFORNIA LABOR SUB-
   23
        CLASS, reallege and incorporate by reference, as though fully set forth herein, the prior
   24
        paragraphs of this Complaint.
   25
               105.   Cal. Lab. Code § 200 provides that:
   26
               As used in this article:
   27
   28                                                 48
                                   FIRST AMENDED CLASS ACTION COMPLAINT
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    1          (a) "Wages" includes all amounts for labor performed by employees of every
               description, whether the amount is fixed or ascertained by the standard of time,
    2          task, piece, Commission basis, or other method of calculation.
    3          (b) "Labor" includes labor, work, or service whether rendered or performed under
               contract, subcontract, partnership, station plan, or other agreement if the labor to
    4          be paid for is performed personally by the person demanding payment.
    5          106.   Cal. Lab. Code § 201 provides, in relevant part, that “If an employer discharges
    6   an employee, the wages earned and unpaid at the time of discharge are due and payable
    7   immediately.”
    8          107.   Cal. Lab. Code § 202 provides, in relevant part, that:
    9          If an employee not having a written contract for a definite period quits his or her
               employment, his or her wages shall become due and payable not later than 72
   10          hours thereafter, unless the employee has given 72 hours previous notice of his
               or her intention to quit, in which case the employee is entitled to his or her wages
   11          at the time of quitting. Notwithstanding any other provision of law, an employee
               who quits without providing a 72-hour notice shall be entitled to receive payment
   12          by mail if he or she so requests and designates a mailing address. The date of the
               mailing shall constitute the date of payment for purposes of the requirement to
   13          provide payment within 72 hours of the notice of quitting.
   14          108.   There was no definite term in Plaintiff Zamora’s or any CALIFORNIA LABOR
   15   SUB-CLASS Members’ employment contract.
   16          109.   Cal. Lab. Code § 203 provides:
   17          If an employer willfully fails to pay, without abatement or reduction, in
               accordance with Sections 201, 201.5, 202, and 205.5, any wages of an employee
   18          who is discharged or who quits, the wages of the employee shall continue as a
               penalty from the due date thereof at the same rate until paid or until an action
   19          therefor is commenced; but the wages shall not continue for more than 30 days.
   20          110.   The employment of Plaintiff Zamora and many CALIFORNIA LABOR SUB-
   21   CLASS Members has terminated and DEFENDANT has not tendered payment of wages, to
   22   these employees who are owed minimum and overtime wages for the off the clock work
   23   described in this complaint, as required by law.
   24          111.   Therefore, as provided by Cal Lab. Code § 203, on behalf of himself and the
   25   members of the CALIFORNIA LABOR SUB-CLASS whose employment has terminated,
   26   Plaintiff Zamora demands up to thirty days of pay as penalty for not paying all wages due at
   27   time of termination for all employees who terminated employment during the CALIFORNIA
   28                                                  49
                                  FIRST AMENDED CLASS ACTION COMPLAINT
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    1   LABOR SUB-CLASS PERIOD, and demands an accounting and payment of all wages due,
    2   plus interest and statutory costs as allowed by law.
    3
                                           PRAYER FOR RELIEF
    4
               WHEREFORE, PLAINTIFFS pray for judgment against each Defendant, jointly and
    5
        severally, as follows:
    6
        1.     On behalf of the CALIFORNIA CLASS:
    7
               A)     That the Court certify the First Cause of Action asserted by the CALIFORNIA
    8
                      CLASS as a class action pursuant to Fed. R. Civ. Proc. 23(b)(2) and/or (3);
    9
               B)     An order temporarily, preliminarily and permanently enjoining and restraining
   10
                      DEFENDANT from engaging in similar unlawful conduct as set forth herein;
   11
               C)     An order requiring DEFENDANT to pay all wages and all sums unlawfuly
   12
                      withheld from compensation due to PLAINTIFFS and the other members of the
   13
                      CALIFORNIA CLASS; and,
   14
               D)     Restitutionary disgorgement of DEFENDANT’s ill-gotten gains into a fluid fund
   15
                      for restitution of the sums incidental to DEFENDANT’s violations due to
   16
                      PLAINTIFFS and to the other members of the CALIFORNIA CLASS.
   17
        2.     On behalf of the CALIFORNIA LABOR SUB-CLASS:
   18
               A)     That the Court certify the Second, Third, Fourth, Fifth, Sixth, Seventh and Eighth
   19
                      Causes of Action asserted by the CALIFORNIA LABOR SUB-CLASS as a class
   20
                      action pursuant to Fed. R. Civ. Proc. 23(b)(2) and/or (3);
   21
               B)     Compensatory damages, according to proof at trial, including compensatory
   22
                      damages for minimum wage and overtime compensation due PLAINTIFFS and
   23
                      the other members of the CALIFORNIA LABOR SUB-CLASS, during the
   24
                      applicable CALIFORNIA LABOR SUB-CLASS PERIOD plus interest thereon
   25
                      at the statutory rate;
   26
               C)     Meal and rest period compensation pursuant to California Labor Code Section
   27
                      226.7 and the applicable IWC Wage Order;
   28                                              50
                                  FIRST AMENDED CLASS ACTION COMPLAINT
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    1         D)    The greater of all actual damages or fifty dollars ($50) for the initial pay period
    2               in which a violation occurs and one hundred dollars ($100) per each member of
    3               the CALIFORNIA LABOR SUB-CLASS for each violation in a subsequent pay
    4               period, not exceeding an aggregate penalty of four thousand dollars ($4,000), and
    5               an award of costs for violation of Cal. Lab. Code § 226;
    6         E)    For liquidated damages pursuant to California Labor Code Sections 1194.2 and
    7               1197;
    8         F)    The amount of the expenses PLAINTIFFS and each member of the
    9               CALIFORNIA LABOR SUBCLASS incurred in the course of their job duties,
   10               plus interest, and costs of suit; and,
   11         G)    The wages of all terminated employees from the CALIFORNIA LABOR
   12               SUB-CLASS as a penalty from the due date thereof at the same rate until paid or
   13               until an action therefore is commenced, in accordance with Cal. Lab. Code § 203.
   14   3.    On all claims:
   15         A)    An award of interest, including prejudgment interest at the legal rate;
   16         B)    Such other and further relief as the Court deems just and equitable; and,
   17         C)    An award of penalties, attorneys’ fees and cost of suit, as allowable under the law,
   18               including, but not limited to, pursuant to Labor Code §226, §1194 and/or §2802.

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   20   Dated: August 28, 2020       BLUMENTHAL NORDREHAUG BHOWMIK DE BLOUW
                                     LLP
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   23
                                          By: /s/ Norman Blumenthal
   24                                           Norman B. Blumenthal
                                                Attorneys for Plaintiffs
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   28                                                51
                                 FIRST AMENDED CLASS ACTION COMPLAINT
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    1                              DEMAND FOR A JURY TRIAL
    2         PLAINTIFFS demand a jury trial on issues triable to a jury.
    3
    4   Dated: August 28, 2020       BLUMENTHAL NORDREHAUG BHOWMIK DE BLOUW
                                     LLP
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                                         By:   /s/ Norman Blumenthal
    8                                           Norman B. Blumenthal
                                                Attorneys for Plaintiffs
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                                 FIRST AMENDED CLASS ACTION COMPLAINT
